Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 1 of 73 PageID #: 1729




                                                                         DEF-000017
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 2 of 73 PageID #: 1730




                                                                         DEF-000018
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 3 of 73 PageID #: 1731




                                                                         DEF-000019
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 4 of 73 PageID #: 1732




                                                                         DEF-000020
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 5 of 73 PageID #: 1733




                                                                         DEF-000021
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 6 of 73 PageID #: 1734




                                                                         DEF-000022
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 7 of 73 PageID #: 1735




                                                             COMMON POLICY CONDITIONS
       All Coverage Parts included in this policy are subject to the following conditions:

       A. Cancellation                                                   D. Inspections And Surveys

           1. The first Named Insured shown in the                             1. We have the right to:
              Declarations may cancel this policy by
              mailing or delivering to us advance written                           a.   Make inspections and surveys at any
              notice of cancellation.                                                    time;

           2. We may cancel this policy by mailing or                               b. Give you reports on the conditions we
              delivering to the first Named Insured                                    find; and
              written notice of cancellation at least:
                                                                                    c.   Recommend changes.
               a.   10 days before the effective date of
                    cancellation if   we cancel      for                       2. We are not obligated to make any
                    nonpayment of premium; or                                     inspections,    surveys,    reports     or
                                                                                  recommendations and any such actions
               b. 60 days before the effective date of                            we do undertake relate only to insurability
                  cancellation if we cancel for any other                         and the premiums to be charged. We do
                  reason.                                                         not make safety inspections. We do not
                                                                                  undertake to perform the duty of any
           3. We will mail or deliver our notice to the                           person or organization to provide for the
              first Named Insured's last mailing address                          health or safety of workers or the public.
              known to us.                                                        And we do not warrant that conditions:

           4. Notice of cancellation will state the                                 a.   Are safe or healthful; or
              effective date of cancellation. The policy
              period will end on that date.                                         b. Comply with laws, regulations, codes
                                                                                       or standards.
           5. If this policy is cancelled, we will send the
              first Named Insured any premium refund                           3. Paragraphs 1. and 2. of this condition
              due. If we cancel, the refund will be pro                           apply not only to us, but also to any
              rata. If the first Named Insured cancels,                           rating, advisory, rate service or similar
              the refund may be less than pro rata. The                           organization which makes insurance
              cancellation will be effective even if we                           inspections,    surveys,    reports    or
              have not made or offered a refund.                                  recommendations.

           6. If notice is mailed, proof of mailing will be                    4. Paragraph 2. of this condition does not
              sufficient proof of notice.                                         apply to any inspections, surveys, reports
                                                                                  or recommendations we may make
       B. Changes                                                                 relative to certification, under state or
                                                                                  municipal     statutes,   ordinances    or
           This policy contains all the agreements                                regulations, of boilers, pressure vessels
           between you and us concerning the                                      or elevators.
           insurance afforded. The first Named Insured
           shown in the Declarations is authorized to                    E. Premiums
           make changes in the terms of this policy with
           our consent. This policy's terms can be                             The first Named Insured shown in the
           amended or waived only by endorsement                               Declarations:
           issued by us and made a part of this policy.
                                                                               1. Is responsible for the payment of all
       C. Examination Of Your Books And Records                                   premiums; and

           We may examine and audit your books and                             2. Will be the payee for any return premiums
           records as they relate to this policy at any                           we pay.
           time during the policy period and up to three
           years afterward.




                       Includes copyrighted material of Insurance Services Office, Inc., with its permission.   GIL 42 01 04 09
                                             Copyright 2009 GuideOne Insurance                                        Page 1 of 2




                                                                                                                           DEF-000023
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 8 of 73 PageID #: 1736




       F. Transfer Of Your Rights And Duties Under                     G. Unintentional Errors Or Omissions
          This Policy
                                                                             Failure by you to disclose all hazards existing
          Your rights and duties under this policy may                       as of the inception date of the policy shall not
          not be transferred without our written consent                     prejudice you with respect to the coverage
          except in the case of death of an individual                       afforded by this policy, provided such failure
          Named Insured. If you die, your rights and                         or any omission is not intentional.
          duties will be transferred to your legal
          representative but only while acting within the              H. Knowledge Of An Occurrence
          scope of duties as your legal representative.
          Until your legal representative is appointed,                      It is understood and agreed that knowledge of
          anyone having proper temporary custody of                          an occurrence by your agent, or any servant
          your property will have your rights and duties                     or employee of yours, shall not in itself
          but only with respect to that property.                            constitute knowledge by you, unless an
                                                                             executive officer of your corporation shall
                                                                             have received such notice from its agent,
                                                                             servant or employee.




                     Includes copyrighted material of Insurance Services Office, Inc., with its permission.   GIL 42 01 04 09
                                           Copyright 2009 GuideOne Insurance                                        Page 2 of 2




                                                                                                                         DEF-000024
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 9 of 73 PageID #: 1737




                                                       MUTUAL POLICY PROVISIONS
       GuideOne Mutual Insurance Company                      GuideOne Specialty Mutual Insurance Company

       Membership And Notice Of Annual Meeting
       Because this policy is issued by a mutual insurance company, you are a member of the Company
       issuing the policy while this policy is in force. While a member, you are entitled to one vote only - either
       in person or by proxy - at meetings of members of the Company.

       The Annual Meetings at GuideOne Mutual                    The Annual Meetings of GuideOne Specialty
       Insurance Company are held at its Home Office             Mutual Insurance Company are held at its Home
       on the fourth Thursday of January in each year,           Office on the third Friday of January in each year,
       at 10:00 a.m.                                             at 2:00 p.m.

       Nonassessable Policy And Participation Clause
       This policy is nonassessable. You are not subject to contingent liability, nor liable to assessment. As a
       member of the Company while this policy is in force, you shall participate, to the extent and upon the
       conditions fixed and determined by the Board of Directors in accordance with the provisions of law, in
       the distribution of any dividends declared and applicable to coverages in your policy.

       Signatures
       This policy is signed at West Des Moines, Iowa on behalf of the Company by the President and
       Secretary of the Company. It is countersigned, if required by law, on the Declarations by an authorized
       Agent of the Company.




       GuideOne Mutual Insurance Company                        GuideOne Specialty Mutual Insurance Company




       President                                               President




       Secretary                                               Secretary




                                              Copyright 2009 GuideOne Insurance                     GIL 42 20 04 09
                                                                                                              Page 1 of 1




                                                                                                                   DEF-000025
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 10 of 73 PageID #:
                                    1738




                                                                        Date:
                                                                        Policyholder:
                                                                        Corporate ID:
                                                                        Policy Number:




                              POLICYHOLDER DISCLOSURE
               NOTICE OF TERRORISM INSURANCE COVERAGE
     Coverage for acts of terrorism is included in your policy. You are hereby notified that under the
     Terrorism Risk Insurance Act, as amended in 2007, the definition of act of terrorism has changed. As
     defined in Section 102(1) of the Act: The term "act of terrorism" means any act that is certified by the
     Secretary of the Treasury, in concurrence with the Secretary of State, and the Attorney General of the
     United States to be an act of terrorism; to be a violent act or an act that is dangerous to human life,
     property, or infrastructure; to have resulted in damage within the United States, or outside the United
     States in the case of certain air carriers or vessels or the premises of a United States mission; and to
     have been committed by an individual or individuals as part of an effort to coerce the civilian population
     of the United States or to influence the policy or affect the conduct of the United States Government by
     coercion.

     Under your existing coverage, any losses resulting from certified acts of terrorism may be partially
     reimbursed by the United States under a formula established by the Terrorism Risk Insurance Act, as
     amended. However, your policy may contain other exclusions which might affect your coverage, such
     as an exclusion for nuclear events. Under the formula, the United States Government generally
     reimburses 85% of covered terrorism losses exceeding the statutorily established deductible paid by the
     insurance company providing the coverage. The Terrorism Risk Insurance Act, as amended, contains a
     $100 billion cap that limits U.S. Government reimbursement as well as insurers' liability for losses
     resulting from certified acts of terrorism when the amount of such losses exceeds $100 billion in any
     one calendar year. If the aggregate insured losses for all insurers exceed $100 billion, your coverage
     may be reduced in accordance with procedures established by the Secretary of Treasury.

     The portion of your annual premium that is attributable to coverage for acts of terrorism is
                      .

     You may reject the offer by checking the appropriate box and signing the statement below and returning
     it to us, and your policy will be endorsed to exclude the described coverage.




         I accept the offer for terrorism coverage as explained in this Notice.

         I reject the offer of terrorism for certified acts of terrorism as explained in this Notice. I understand
         that I am also rejecting certified terrorism coverage for any applicable Umbrella and/or Business
         Auto policy(s).



                  Applicant's Signature                                                            Date




                                                                                                GN 70029 01 08
                                                                                                          Page 1 of 1




                                                                                                               DEF-000026
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 11 of 73 PageID #:
                                    1739




                                                        CALCULATION OF PREMIUM
     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     This endorsement modifies insurance provided under the following:

          CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
          COMMERCIAL AUTOMOBILE COVERAGE PART
          COMMERCIAL GENERAL LIABILITY COVERAGE PART
          COMMERCIAL INLAND MARINE COVERAGE PART
          COMMERCIAL PROPERTY COVERAGE PART
          CRIME AND FIDELITY COVERAGE PART
          EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
          EQUIPMENT BREAKDOWN COVERAGE PART
          FARM COVERAGE PART
          LIQUOR LIABILITY COVERAGE PART
          MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
          OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
          POLLUTION LIABILITY COVERAGE PART
          PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
          RAILROAD PROTECTIVE LIABILITY COVERAGE PART

     The following is added:

     The premium shown in the Declarations was computed based on rates in effect at the time the policy
     was issued. On each renewal, continuation, or anniversary of the effective date of this policy, we will
     compute the premium in accordance with our rates and rules then in effect.




                                         d ISO Properties, Inc., 2007                        IL 00 03 09 08
                                                                                                   Page 1 of 1




                                                                                                        DEF-000027
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 12 of 73 PageID #:
                                    1740




                                                     NUCLEAR ENERGY LIABILITY
                                                      EXCLUSION ENDORSEMENT
                                                                                                    (Broad Form)

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     This endorsement modifies insurance provided under the following:

            COMMERCIAL AUTOMOBILE COVERAGE PART
            COMMERCIAL GENERAL LIABILITY COVERAGE PART
            FARM COVERAGE PART
            LIQUOR LIABILITY COVERAGE PART
            MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
            OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
            POLLUTION LIABILITY COVERAGE PART
            PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
            RAILROAD PROTECTIVE LIABILITY COVERAGE PART
            UNDERGROUND STORAGE TANK POLICY

     1. The insurance does not apply:                             C. Under any Liability Coverage, to "bodily
                                                                     injury" or "property damage" resulting
        A. Under any Liability Coverage, to "bodily                  from "hazardous properties" of "nuclear
           injury" or "property damage":                             material", if:

            (1) With respect to which an "insured"                     (1) The "nuclear material" (a) is at any
                under the policy is also an insured                        "nuclear facility" owned by, or
                under a nuclear energy liability policy                    operated by or on behalf of, an
                issued by Nuclear Energy Liability                         "insured" or (b) has been discharged
                Insurance Association, Mutual Atomic                       or dispersed therefrom;
                Energy Liability Underwriters, Nuclear
                Insurance Association of Canada or                     (2) The "nuclear material" is contained
                any of their successors, or would be                       in "spent fuel" or "waste" at any
                an insured under any such policy but                       time possessed, handled, used,
                for its termination upon exhaustion of                     processed, stored, transported or
                its limit of liability; or                                 disposed of, by or on behalf of an
                                                                           "insured"; or
            (2) Resulting from the "hazardous
                properties" of "nuclear material" and                  (3) The "bodily injury" or "property
                with respect to which (a) any person                       damage" arises out of the furnishing
                or organization is required to maintain                    by an "insured"          of services,
                financial protection pursuant to the                       materials, parts or equipment in
                Atomic Energy Act of 1954, or any                          connection      with   the    planning,
                law amendatory thereof, or (b) the                         construction, maintenance, operation
                "insured" is, or had this policy not                       or use of any "nuclear facility", but if
                been issued would be, entitled to                          such facility is located within the
                indemnity from the United States of                        United States of America, its
                America, or any agency thereof,                            territories or possessions or Canada,
                under any agreement entered into by                        this exclusion (3) applies only to
                the United States of America, or any                       "property damage" to such "nuclear
                agency thereof, with any person or                         facility" and any property thereat.
                organization.
                                                             2. As used in this endorsement:
        B. Under any Medical Payments coverage,
           to expenses incurred with respect to                   "Hazardous properties" includes radioactive,
           "bodily   injury"   resulting from the                 toxic or explosive properties.
           "hazardous properties" of "nuclear
           material" and arising out of the operation             "Nuclear material" means "source material",
           of a "nuclear facility" by any person or               "special nuclear material" or "by-product
           organization.                                          material".


                                             d ISO Properties, Inc., 2007                          IL 00 21 09 08
                                                                                                         Page 1 of 2




                                                                                                              DEF-000028
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 13 of 73 PageID #:
                                    1741




        "Source material", "special nuclear mate-                      (c) Any equipment or device used for the
        rial", and "by-product material" have the                          processing, fabricating or alloying of
        meanings given them in the Atomic Energy                           "special nuclear material" if at any
        Act of 1954 or in any law amendatory                               time the total amount of such
        thereof.                                                           material in the custody of the
                                                                           "insured" at the premises where
        "Spent fuel" means any fuel element or fuel                        such equipment or device is located
        component, solid or liquid, which has been                         consists of or contains more than 25
        used or exposed to radiation in a "nuclear                         grams of plutonium or uranium 233
        reactor".                                                          or any combination thereof, or more
                                                                           than 250 grams of uranium 235;
        "Waste" means any waste material (a)
        containing "by-product material" other than                    (d) Any structure, basin, excavation,
        the tailings or wastes produced by the                             premises or place prepared or used
        extraction or concentration of uranium or                          for the storage or disposal of
        thorium from any ore processed primarily for                       "waste";
        its "source material" content, and (b)
        resulting from the operation by any person or             and includes the site on which any of the
        organization of any "nuclear facility" included           foregoing is located, all operations conducted
        under the first two paragraphs of the                     on such site and all premises used for such
        definition of "nuclear facility".                         operations.

        "Nuclear facility" means:                                 "Nuclear reactor" means any apparatus
                                                                  designed or used to sustain nuclear fission in
            (a) Any "nuclear reactor";                            a self-supporting chain reaction or to contain
                                                                  a critical mass of fissionable material.
            (b) Any equipment or device designed or
                used for (1) separating the isotopes              "Property damage" includes all forms of
                of uranium or plutonium, (2)                      radioactive contamination of property.
                processing or utilizing "spent fuel",
                or (3) handling, processing or
                packaging "waste";




                                             d ISO Properties, Inc., 2007                         IL 00 21 09 08
                                                                                                       Page 2 of 2




                                                                                                            DEF-000029
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 14 of 73 PageID #:
                                    1742




                                              KENTUCKY CHANGES --
                                     CANCELLATION AND NONRENEWAL
     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     This endorsement modifies insurance provided under the following:

        CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
        COMMERCIAL AUTOMOBILE COVERAGE PART
        COMMERCIAL GENERAL LIABILITY COVERAGE PART
        COMMERCIAL INLAND MARINE COVERAGE PART
        COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
        COMMERCIAL PROPERTY COVERAGE PART
        CRIME AND FIDELITY COVERAGE PART
        EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
        EQUIPMENT BREAKDOWN COVERAGE PART
        FARM COVERAGE PART
        FARM UMBRELLA LIABILITY POLICY
        LIQUOR LIABILITY COVERAGE PART
        MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
        POLLUTION LIABILITY COVERAGE PART
        PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

     A. Paragraph 2. of the Cancellation Common                                 which increase       any     hazard
        Policy Condition is replaced by the following:                          insured against;

        2. Cancellation Of Policies In Effect For                           (4) The occurrence of a change in
           60 Days Or Less                                                      the risk which substantially
                                                                                increases any hazard insured
            If this policy has been in effect for 60                            against after insurance coverage
            days or less, we may cancel this policy                             has been issued or renewed;
            by mailing or delivering to the first Named
            Insured written notice of cancellation,                         (5) A violation of any local fire,
            stating the reason for cancellation, at                             health,   safety,    building, or
            least 14 days before the effective date of                          construction      regulation    or
            cancellation.                                                       ordinance with respect to any
                                                                                insured     property      or   the
     B. The following is added to the Cancellation                              occupancy       thereof      which
        Common Policy Condition:                                                substantially    increases     any
                                                                                hazard insured against;
        7. Cancellation Of Policies In Effect For
           More Than 60 Days                                                (6) We are unable to reinsure the
                                                                                risk covered by the policy; or
            a. If this policy has been in effect for
               more than 60 days or is a renewal of                         (7) A     determination     by     the
               a policy we issued, we may cancel                                commissioner that the continu-
               this policy only for one or more of the                          ation of the policy would place us
               following reasons:                                               in violation of the Kentucky
                                                                                insurance code or regulations of
                (1) Nonpayment of premium;                                      the commissioner.

                (2) Discovery of fraud or material                     b. If we cancel this policy based on
                    misrepresentation made by you                         Paragraph 7.a. above, we will mail or
                    or with your knowledge in                             deliver a written notice of cancellation
                    obtaining the policy, continuing                      to the first Named Insured, stating
                    the policy, or in presenting a                        the reason for cancellation, at least:
                    claim under the policy;
                                                                            (1) 14 days before the effective date
                (3) Discovery of willful or reckless                            of the cancellation, if cancellation
                    acts or omissions on your part                              is for nonpayment of premium; or


                                             d ISO Properties, Inc., 2007                           IL 02 63 09 08
                                                                                                           Page 1 of 2




                                                                                                                DEF-000030
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 15 of 73 PageID #:
                                    1743




               (2) 75 days before the effective date              3. If notice of nonrenewal is not provided
                   of the cancellation, if cancellation              pursuant to this Condition, coverage
                   is for any reason stated in 7.a.(2)               under the same terms and conditions
                   through 7.a.(7) above.                            shall be deemed to be renewed for the
                                                                     ensuing policy period upon payment of
     C. The following is added and supersedes any                    the appropriate premium until you have
        provision to the contrary:                                   accepted replacement coverage with
                                                                     another insurer, or until you have agreed
        NONRENEWAL                                                   to the nonrenewal.

        1. For the purpose of this Condition:                     4. If we mail or deliver a renewal notice to
                                                                     the first Named Insured at least 30 days
            a. Any policy period or term of less than                before the end of the policy period,
               6 months shall be considered to be a                  stating the renewal premium and its due
               policy period or term of six months;                  date, the policy will terminate without
               and                                                   further notice unless the renewal
                                                                     premium is received by us or our
            b. Any policy period or term of more                     authorized agent by the due date.
               than one year or any policy with no
               fixed expiration date shall be                     5. If this policy terminates because the
               considered a policy period or term of                 renewal premium has not been received
               one year.                                             by the due date, we will, within 15 days,
                                                                     mail or deliver to the first Named Insured
        2. If we elect not to renew this policy, we                  at his last known address a notice that
           will mail or deliver written notice of                    the policy was not renewed and the date
           nonrenewal, stating the reason for                        it was terminated.
           nonrenewal, to the first Named Insured
           shown in the Declarations, at the last                 6. If notice is mailed, proof of mailing is
           mailing address known to us, at least 75                  sufficient proof of notice.
           days before the expiration date of the
           policy period.




                                             d ISO Properties, Inc., 2007                       IL 02 63 09 08
                                                                                                     Page 2 of 2




                                                                                                          DEF-000031
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 16 of 73 PageID #:
                                    1744




                                         CAP ON LOSSES FROM CERTIFIED
                                                   ACTS OF TERRORISM
     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     This endorsement modifies insurance provided under the following:

            BOILER AND MACHINERY COVERAGE PART
            COMMERCIAL INLAND MARINE COVERAGE PART
            COMMERCIAL PROPERTY COVERAGE PART
            EQUIPMENT BREAKDOWN COVERAGE PART
            FARM COVERAGE PART
            STANDARD PROPERTY POLICY

     A. Cap On Certified Terrorism Losses                        If aggregate insured losses attributable to
                                                                 terrorist acts certified under the Terrorism
        "Certified act of terrorism" means an act that           Risk Insurance Act exceed $100 billion in a
        is certified by the Secretary of the Treasury,           Program Year (January 1 through December
        in concurrence with the Secretary of State               31) and we have met our insurer deductible
        and the Attorney General of the United                   under the Terrorism Risk Insurance Act, we
        States, to be an act of terrorism pursuant to            shall not be liable for the payment of any
        the federal Terrorism Risk Insurance Act.                portion of the amount of such losses that
        The criteria contained in the Terrorism Risk             exceeds $100 billion, and in such case
        Insurance Act for a "certified act of                    insured losses up to that amount are subject
        terrorism" include the following:                        to pro rata allocation in accordance with
                                                                 procedures established by the Secretary of
        1. The act resulted in insured losses in                 the Treasury.
           excess of $5 million in the aggregate,
           attributable to all types of insurance            B. Application Of Exclusions
           subject to the Terrorism Risk Insurance
           Act; and                                              The terms and limitations of any terrorism
                                                                 exclusion, or the inapplicability or omission of
        2. The act is a violent act or an act that is            a terrorism exclusion, do not serve to create
           dangerous to human life, property or                  coverage for any loss which would otherwise
           infrastructure and is committed by an                 be excluded under this Coverage Part or
           individual or individuals as part of an               Policy, such as losses excluded by the
           effort to coerce the civilian population of           Nuclear Hazard Exclusion or the War And
           the United States or to influence the                 Military Action Exclusion.
           policy or affect the conduct of the United
           States Government by coercion.




                                            d ISO Properties, Inc., 2007                         IL 09 52 03 08
                                                                                                       Page 1 of 1




                                                                                                            DEF-000032
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 17 of 73 PageID #:
                                    1745




                         AMENDATORY DEDUCTIBLE ENDORSEMENT

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
      All Coverage Parts included in this policy are subject to the following:
      Except as provided in the next paragraph, if two or more coverages of this policy apply to loss or damage
      arising out of any one occurrence, we will pay for loss or damage that exceeds the largest single
      deductible of any coverage that applies to the loss or damage. We will not pay more than the actual loss
      or damage.
      This endorsement does not apply to CAUSES OF LOSS         EARTHQUAKE FORM. If that form applies
      to this policy, its DEDUCTIBLE provision will apply to loss or damage caused by or resulting from
      Earthquake or Volcanic Eruption.




                                                Copyright 1990 GuideOne Insurance              PIL 72 09 07 90
                                                                                                       Page 1 of 1




                                                                                                          DEF-000033
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 18 of 73 PageID #:
                                    1746




      POLICY NUMBER:                                              COMMON POLICY CONDITIONS


                                   NAMED INSURED SCHEDULE

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
      This endorsement modifies insurance provided under the:
             COMMON POLICY CONDITIONS
                                                   SCHEDULE
      The following Named Insureds are included on this policy:




                                                                                    PMAN-2
                                                                                    Page 1 of 1




                                                                                       DEF-000034
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 19 of 73 PageID #:
                                    1747




                                                                      DEF-000035
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 20 of 73 PageID #:
                                    1748




                                                                      DEF-000036
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 21 of 73 PageID #:
                                    1749




                                                                      DEF-000037
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 22 of 73 PageID #:
                                    1750




                                                                      DEF-000038
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 23 of 73 PageID #:
                                    1751




            RECORDING AND DISTRIBUTION OF MATERIAL OR
            INFORMATION IN VIOLATION OF LAW EXCLUSION
     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     This endorsement modifies insurance provided under the following:

            COMMERCIAL GENERAL LIABILITY COVERAGE PART

     A. Exclusion q. of Paragraph 2. Exclusions of             B. Exclusion p. of Paragraph 2. Exclusions of
        Section I -- Coverage A -- Bodily Injury And              Section I -- Coverage B -- Personal And
        Property Damage Liability is replaced by the              Advertising Injury Liability is replaced by the
        following:                                                following:

        2. Exclusions                                               2. Exclusions

            This insurance does not apply to:                            This insurance does not apply to:

            q. Recording And        Distribution Of                      p. Recording And        Distribution    Of
               Material Or Information In Violation Of                      Material Or Information In Violation Of
               Law                                                          Law

                "Bodily injury" or "proper ty damage"                         "Personal and advertising injury"
                arising directly or indirectly out of any                     arising directly or indirectly out of any
                action or omission that violates or is                        action or omission that violates or is
                alleged to violate:                                           alleged to violate:

                (1) The      Telephone   Consumer
                    Protection Act (TCPA), including                          (1) The      Telephone   Consumer
                    any amendment of or addition to                               Protection Act (TCPA), including
                    such law;                                                     any amendment of or addition to
                                                                                  such law;
                (2) The CAN-SPAM Act of 2003,
                    including any amendment of or                             (2) The CAN-SPAM Act of 2003,
                    addition to such law;                                         including any amendment of or
                                                                                  addition to such law;
                (3) The Fair Credit Reporting Act
                    (FCRA), and any amendment of                              (3) The Fair Credit Reporting Act
                    or addition to such law, including                            (FCRA), and any amendment of
                    the Fair and Accurate Credit                                  or addition to such law, including
                    Transaction Act (FACTA); or                                   the Fair and Accurate Credit
                                                                                  Transaction Act (FACTA); or
                (4) Any federal, state or local statute,
                    ordinance or regulation, other                            (4) Any federal, state or local statute,
                    than the TCPA, CAN-SPAM Act                                   ordinance or regulation, other
                    of 2003 or FCRA and their                                     than the TCPA, CAN-SPAM Act
                    amendments and additions, that                                of 2003 or FCRA and their
                    addresses, prohibits, or limits the                           amendments and additions, that
                    printing, dissemination, disposal,                            addresses, prohibits, or limits the
                    collecting, recording, sending,                               printing, dissemination, disposal,
                    transmitting, communicating or                                collecting, recording, sending,
                    distribution   of    material     or                          transmitting, communicating or
                    information.                                                  distribution   of    material     or
                                                                                  information.




                                              d Insurance Services Office, Inc., 2008                CG 00 68 05 09
                                                                                                            Page 1 of 1




                                                                                                                 DEF-000039
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 24 of 73 PageID #:
                                    1752




                                          FUNGI OR BACTERIA EXCLUSION
     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     This endorsement modifies insurance provided under the following:

            COMMERCIAL GENERAL LIABILITY COVERAGE PART

     A. The following exclusion is added to                  B. The following exclusion is added to
        Paragraph 2. Exclusions of Section I --                 Paragraph 2. Exclusions of Section I --
        Coverage A -- Bodily Injury And Property                Coverage B -- Personal And Advertising
        Damage Liability:                                       Injury Liability:

        2. Exclusions                                            2. Exclusions

            This insurance does not apply to:                         This insurance does not apply to:

            Fungi Or Bacteria                                         Fungi Or Bacteria

            a. "Bodily injury" or "property damage"                   a. "Personal and advertising injury"
               which would not have occurred, in                         which would not have taken place, in
               whole or in part, but for the actual,                     whole or in part, but for the actual,
               alleged or threatened inhalation of,                      alleged or threatened inhalation of,
               ingestion of, contact with, exposure                      ingestion of, contact with, exposure
               to, existence of, or presence of, any                     to, existence of, or presence of any
               "fungi" or bacteria on or within a                        "fungi" or bacteria on or within a
               building or structure, including its                      building or structure, including its
               contents, regardless of whether any                       contents, regardless of whether any
               other cause, event, material or                           other cause, event, material or
               product contributed concurrently or in                    product contributed concurrently or in
               any sequence to such injury or                            any sequence to such injury.
               damage.
                                                                      b. Any loss, cost or expense arising out
            b. Any loss, cost or expenses arising                        of the abating, testing for, monitoring,
               out of the abating, testing for,                          cleaning up, removing, containing,
               monitoring, cleaning up, removing,                        treating, detoxifying, neutralizing,
               containing,     treating,  detoxifying,                   remediating or disposing of, or in any
               neutralizing, remediating or disposing                    way responding to, or assessing the
               of, or in any way responding to, or                       effects of, "fungi" or bacteria, by any
               assessing the effects of, "fungi" or                      insured or by any other person or
               bacteria, by any insured or by any                        entity.
               other person or entity.
                                                             C. The following definition is added to the
            This exclusion does not apply to any                Definitions Section:
            "fungi" or bacteria that are, are on, or
            are contained in, a good or product                  "Fungi" means any type or form of fungus,
            intended for bodily consumption.                     including mold or mildew and any
                                                                 mycotoxins, spores, scents or byproducts
                                                                 produced or released by fungi.




                                            d ISO Properties, Inc., 2003                        CG 21 67 12 04
                                                                                                       Page 1 of 1




                                                                                                            DEF-000040
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 25 of 73 PageID #:
                                    1753




                                                       CAP ON LOSSES FROM
                                               CERTIFIED ACTS OF TERRORISM
     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     This endorsement modifies insurance provided under the following:

             COMMERCIAL GENERAL LIABILITY COVERAGE PART
             LIQUOR LIABILITY COVERAGE PART
             OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
             POLLUTION LIABILITY COVERAGE PART
             PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
             RAILROAD PROTECTIVE LIABILITY COVERAGE PART
             UNDERGROUND STORAGE TANK POLICY

     If aggregate insured losses attributable to terrorist       Risk Insurance Act. The criteria contained in the
     acts certified under the federal Terrorism Risk             Terrorism Risk Insurance Act for a "certified act
     Insurance Act exceed $100 billion in a Program              of terrorism" include the following:
     Year (January 1 through December 31) and we
     have met our insurer deductible under the                   1. The act resulted in insured losses in excess
     Terrorism Risk Insurance Act, we shall not be                  of $5 million in the aggregate, attributable to
     liable for the payment of any portion of the                   all types of insurance subject to the
     amount of such losses that exceeds $100 billion,               Terrorism Risk Insurance Act; and
     and in such case insured losses up to that
     amount are subject to pro rata allocation in                2. The act is a violent act or an act that is
     accordance with procedures established by the                  dangerous to human life, property or
     Secretary of the Treasury.                                     infrastructure and is committed by an
                                                                    individual or individuals as part of an effort to
     "Certified act of terrorism" means an act that is              coerce the civilian population of the United
     certified by the Secretary of the Treasury, in                 States or to influence the policy or affect the
     concurrence with the Secretary of State and the                conduct of the United States Government by
     Attorney General of the United States, to be an                coercion.
     act of terrorism pursuant to the federal Terrorism




                                                d ISO Properties, Inc., 2007                        CG 21 70 01 08
                                                                                                           Page 1 of 1




                                                                                                                DEF-000041
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 26 of 73 PageID #:
                                    1754




        EXCLUSION OF PUNITIVE DAMAGES RELATED TO A
                         CERTIFIED ACT OF TERRORISM
     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     This endorsement modifies insurance provided under the following:

             COMMERCIAL GENERAL LIABILITY COVERAGE PART
             LIQUOR LIABILITY COVERAGE PART
             OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
             POLLUTION LIABILITY COVERAGE PART
             PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
             RAILROAD PROTECTIVE LIABILITY COVERAGE PART
             UNDERGROUND STORAGE TANK POLICY

     A. The following exclusion is added:                          The criteria contained in the Terrorism Risk
                                                                   Insurance Act for a "certified act of
         This insurance does not apply to:                         terrorism" include the following:

         TERRORISM PUNITIVE DAMAGES                                1. The act resulted in insured losses in
                                                                      excess of $5 million in the aggregate,
         Damages arising, directly or indirectly, out of              attributable to all types of insurance
         a "certified act of terrorism" that are awarded              subject to the Terrorism Risk Insurance
         as punitive damages.                                         Act; and

     B. The following definition is added:                         2. The act is a violent act or an act that is
                                                                      dangerous to human life, property or
         "Certified act of terrorism" means an act that               infrastructure and is committed by an
         is certified by the Secretary of the Treasury,               individual or individuals as part of an
         in concurrence with the Secretary of State                   effort to coerce the civilian population of
         and the Attorney General of the United                       the United States or to influence the
         States, to be an act of terrorism pursuant to                policy or affect the conduct of the United
         the federal Terrorism Risk Insurance Act.                    States Government by coercion.




                                              d ISO Properties, Inc., 2007                      CG 21 76 01 08
                                                                                                       Page 1 of 1




                                                                                                            DEF-000042
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 27 of 73 PageID #:
                                    1755




                         VIOLENT INCIDENT RESPONSE COVERAGE
                        COVERAGE VR VIOLENT INCIDENT RESPONSE COVERAGE

     Various provisions in this document restrict                      However, the amount we pay for
     coverage. Read this document and the entire                       Covered Expenses is limited in Section III
     policy carefully to determine rights, duties and                  -- Limits of Insurance -- Coverage VR.
     what is and is not covered.
                                                                   b. Covered Expenses
     Throughout this document the words "you" and
     "your" refer strictly to the Named Insured shown                  (1) Subject to the Individual Expenses
     in the Declarations, and any other person or                          Aggregate Limit under Section III --
     organization qualifying as a Named Insured within                     Limits   of   Insurance,   Covered
     Section II -- Who Is An Insured of Coverage VR.                       Expenses for any one person
     The words "we", "us" and "our" refer to the                           include:
     company providing this insurance.
                                                                           (a) Medical expenses up to $50,000
     The word "insured" means any person or                                    per person for medical expenses
     organization qualifying as such under Section II --                       that would otherwise be covered
     Who Is An Insured of Coverage VR.                                         under Section I -- Coverage C.
                                                                               Medical Payments of this policy.
     Other words and phrases that appear in quotation                          However, we will not pay for any
     marks have special meaning. Refer to both                                 funeral expenses under Coverage
     Section V -- Definitions of the Commercial                                VR.
     General Liability Coverage Form, and the other
     definitions provided herein which are unique and                          Medical expenses for a "violent
     specific to Coverage VR.                                                  incident" must be incurred and
                                                                               reported to us within one year of
     SECTION I -- COVERAGES                                                    the "violent incident".

     Coverage VR is merged within and is a                                     Medical payments made under
     comprised part of the Commercial General                                  Coverage VR are excess over
     Liability Coverage Form. The coverage provided                            any other medical coverage that
     by Coverage VR is distinct and separate from                              is available or payable under this
     any other coverage provided by or within Section                          policy, or any other policy, issued
     I -- Coverages of the Commercial General                                  by us; and
     Liability Coverage Form.
                                                                           (b) Individual counseling expenses
     COVERAGE   VR   VIOLENT                INCIDENT                           incurred within 6 months after the
     RESPONSE COVERAGE                                                         "violent   incident",   for   any
                                                                               "victim",    "immediate     family
     1. Insuring Agreement                                                     member" of a "victim", or any
                                                                               "witness", up to $2,500 for each
         a. At your request, we will pay those                                 person.
            Covered     Expenses    described     in
            Paragraph b. immediately below, that                       (2) Subject    to  the    Organizational
            result from a "violent incident" that                          Expenses Aggregate Limit under
            occurs during your "sponsored activity".                       Section III -- Limits of Insurance,
            We will pay such Covered Expenses                              Covered Expenses include:
            under Coverage VR only if:
                                                                           (a) Group counseling services to
             (1) The "violent incident" takes place in                         meet with "employees"         or
                 the "coverage territory" and during                           members of your organization;
                 the policy period; and
                                                                           (b) Additional security guard services
             (2) Covered Expenses resulting from the                           to guard your facility against
                 "violent incident" are incurred and                           further incidents of violence; and
                 reported as soon as practicable.



                                       Copyright 2009 GuideOne Insurance                       GCG 04 04 04 09
                                                                                                        Page 1 of 5




                                                                                                             DEF-000043
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 28 of 73 PageID #:
                                    1756




               (c) Any independent public relations               f.   Sexual Misconduct
                   services that you hire, and
                   related media and communication                     Any expenses incurred by any person
                   costs.                                              arising out of or resulting from any actual
                                                                       or alleged "sexual misconduct or sexual
               Covered Expenses must be incurred                       molestation".
               within 60 days after the "violent
               incident", or within 30 days before or             g. War Or Civil Commotion
               30 days after the first anniversary of
               the "violent incident".                                 Any expenses arising out of:

     2. Exclusions                                                     (1) War, including undeclared or civil
                                                                           war;
        The following Exclusions are unique to
        Coverage VR. For purposes of Coverage                          (2) Warlike action by a military force,
        VR, none of Paragraph 2. Exclusions of                             including action in hindering or
        Coverage C. Medical Payments of the                                defending against an actual or
        Commercial General Liability Coverage Form                         expected attack, by any government,
        is incorporated by reference and shall not be                      sovereign or other authority using
        relied upon in determining the exclusions                          military personnel or other agents;
        applicable to Coverage VR.
                                                                       (3) Insurrection, rebellion, revolution,
        This insurance does not apply to:                                  usurped power, or action taken by
                                                                           governmental authority in hindering or
        a. Biological Or Chemical Materials                                defending against any of these; or

           The dispersal, release or application of                    (4) Any act or condition incidental to an
           pathogenic, poisonous, biological, or                           activity or event described in
           chemical materials.                                             Paragraphs     (1)    through      (3)
                                                                           immediately above.
        b. Expected Or Intended Injury
                                                                  h. Workers' Compensation And Similar
           Any expected or intended injury except:                   Laws

           (1) From     the    standpoint     of    the                Any obligation of the insured under a
               perpetrator;                                            workers' compensation, disability benefits
                                                                       or unemployment compensation law or
           (2) In self-defense; or                                     any similar law.

           (3) In defense of another person who is                i.   Employer's Liability
               not the perpetrator.
                                                                       "Bodily injury" to an "employee" of the
        c. Government Services                                         insured arising out of and in the course
                                                                       of:
           The cost of any services provided by a
           governmental entity.                                        (a) Employment by the insured; or

        d. Nuclear Materials                                           (b) Performing duties related to the
                                                                           conduct of the insured's business.
           The use, release or escape of nuclear
           materials that, directly or indirectly,           SECTION II -- WHO IS AN INSURED --
           results in a nuclear reaction, radiation, or      COVERAGE VR
           radioactive contamination.
                                                             For purposes of Coverage VR, Section II -- Who
        e. Perpetrator                                       Is An Insured of the Commercial General Liability
                                                             Coverage Form is incorporated by reference.
           Expenses incurred by any perpetrator of,
           or any person participating in the
           planning or execution of, any "violent
           incident".



                                      Copyright 2009 GuideOne Insurance                        GCG 04 04 04 09
                                                                                                        Page 2 of 5




                                                                                                             DEF-000044
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 29 of 73 PageID #:
                                    1757




     SECTION III -- LIMITS OF INSURANCE --                   6. If two or more policies or Coverages issued
     COVERAGE VR                                                by us apply to the same insured and these
                                                                policies or Coverages also apply to the same
     The following Limits of Insurance provisions are           claim or "suit", the maximum amount we will
     unique to Coverage VR.         For purposes of             pay as "damages" under all of the policies or
     Coverage VR, none of Section III -- Limits of              Coverages will not exceed the highest
     Insurance of the Commercial General Liability              applicable Limit of Insurance that applies to
     Coverage Form is incorporated by reference and             any one of the policies or Coverages.
     shall not be relied upon in determining the limits
     of available coverage.                                       This Paragraph 6. does not apply to any
                                                                  insurance that was purchased specifically to
     1. The Limits of Insurance shown in the                      apply in excess of the applicable Limits of
        Declarations and the rules below fix the most             Insurance shown in the Declarations.
        we will pay for the sum of all Covered
        Expenses that arise out of a "violent                SECTION IV -- CONDITIONS -- COVERAGE
        incident", regardless of the number of:              VR

         a. Insureds;                                        The following conditions are unique to Coverage
                                                             VR. The remainder of Section IV -- Conditions of
         b. Claims made;                                     the Commercial General Liability Coverage Form
                                                             is incorporated by reference. The conditions and
         c. Persons or organizations making claims;          duties provided herein will supersede those
                                                             contained in Paragraphs 2. and 4. of Section IV
         d. Perpetrators; or                                 -- Conditions of the Commercial General Liability
                                                             Coverage Form.
         e. Policy periods over which the "violent
            incident" occurs. If the "violent incident"      1. Duties In The Event Of A Violent Incident
            occurs over more than one policy period,
            the Limits of Insurance applicable when               a. You must notify us as soon as
            the "violent incident" first began will                  practicable of any "violent incident"
            apply.                                                   which may result in payment of Covered
                                                                     Expenses. To the extent possible, notice
     2. The Violent Incident Aggregate Limit shown                   should include:
        in the Declarations is the most we will pay for
        the sum of all Covered Expenses arising out                   (1) How, when and where the "violent
        of all "violent incidents".                                       incident" took place;

     3. Subject to Paragraph 2. above, the                            (2) The names and addresses of any
        Organizational Expenses Aggregate Limit                           "victims",   "witnesses" or other
        shown in the Declarations is the most we will                     persons of interest; and
        pay for the sum of all Covered Expenses
        described in Paragraphs (2)(a) through (2)(c)                 (3) The nature and location of any injury
        of 1.b. Covered Expenses (Section I) and                          or damage arising out of the "violent
        arising out of a "violent incident".                              incident".

     4. Subject to Paragraph 2. above, the Individual             b. No insured will, except at that insured's
        Expenses Aggregate Limit shown in the                        own cost, voluntarily make a payment,
        Declarations is the most we will pay for the                 assume any obligation, or incur any
        sum of all Individual Expenses described in                  expense, other than for first aid, without
        Paragraphs (1)(a) and (1)(b) of 1.b. Covered                 our consent.
        Expenses (Section I) and arising out of a
        "violent incident".                                  2. Other Insurance

     5. Covered Expenses will be paid in the order                If other valid and collectible insurance is
        that they are received by us until the                    available to the insured for a loss we cover
        applicable per person limit, Individual                   under Coverage VR, our obligations are
        Expenses       Aggregate,     Organizational              limited as follows:
        Expenses Aggregate or Violent Incident
        Aggregate is reached, at which time payment
        will cease.



                                      Copyright 2009 GuideOne Insurance                      GCG 04 04 04 09
                                                                                                     Page 3 of 5




                                                                                                          DEF-000045
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 30 of 73 PageID #:
                                    1758




        a. Primary Insurance                                SECTION V -- DEFINITIONS -- COVERAGE
                                                            VR
           This insurance is primary except when
           Paragraph b. below applies.         If this      The following words or phrases have a specific
           insurance is primary, our obligations are        and unique meaning to Coverage VR.             The
           not affected unless any of the other             remainder of Section V -- Definitions of the
           insurance is also primary. Then, we will         Commercial General Liability Coverage Form is
           share with all that other insurance by the       incorporated by reference. Certain definitions
           method described in Paragraph c. below.          contained within Section V -- Definitions of the
                                                            Commercial General Liability Coverage Form may
        b. Excess Insurance                                 be reproduced for ease of reference in this
                                                            document. The definitions provided herein will
           (1) This insurance is excess over any            supersede      the    corresponding    definitions
               other insurance, whether primary,            contained within Section V of the Commercial
               excess, contingent or on any other           General Liability Coverage Form.
               basis:
                                                            Where set forth in quotation marks in this
               (a) That   is    medical     payments        document, the following words or phrases,
                   coverage; or                             whether used in the singular or plural, shall have
                                                            the meanings specified below.
               (b) That provides "violent incident"
                   or similar coverage.                     1. "Certified act of terrorism" means an act that
                                                               is certified by the Secretary of the Treasury,
           (2) When this insurance is excess over              in concurrence with the Secretary of State
               other insurance, we will pay only our           and the Attorney General of the United
               share of the amount of the loss, if             States, to be an act of terrorism pursuant to
               any, that exceeds the sum of:                   the federal Terrorism Risk Insurance Act.
                                                               The criteria contained in the Terrorism Risk
               (a) The total amount that all such              Insurance Act for a "certified act of
                   other insurance would pay for the           terrorism" include the following:
                   loss in absence of Coverage VR;
                   and                                           a. The act resulted in aggregate losses in
                                                                    excess of $5 million in the aggregate;
               (b) The total of all deductible and                  attributable to all types of insurance
                   self-insured amounts under all                   subject to the Terrorism Risk Insurance
                   that other insurance.                            Act; and

           (3) We will share the remaining loss, if              b. The act is a violent act or an act that is
               any, with any other insurance that is                dangerous to human life, property or
               not described in this Excess                         infra-structure and is committed by an
               Insurance provision and was not                      individual or individuals as part of an
               bought specifically to apply in excess               effort to coerce the civilian population of
               of the applicable Limits of Insurance                the United States or to influence the
               shown in the Declarations.                           policy or affect the conduct of the United
                                                                    States Government by coercion.
        c. Method Of Sharing
                                                            2. "Critical injury" means:
           If all of the other insurance permits
           contribution by equal shares, we will                 a. Death of a person;
           follow this method also.        Under this
           approach, each insurer contributes equal              b. Injury to a person involving significant
           amounts until it has paid its applicable                 damage to one or more vital organs; or
           limit of insurance or none of the loss
           remains, whichever comes first. If any of             c. Other serious physical injury, if such
           the other insurance does not permit                      injury results in the probability of death if
           contribution by equal shares, we will                    aggressive medical treatment is not
           contribute by limits. Under this method,                 provided.
           each insurer's share is based on the ratio
           of its applicable limit of insurance to the           "Critical injury" does not include emotional or
           total applicable limits of insurance of all           mental injury.
           insurers.


                                     Copyright 2009 GuideOne Insurance                        GCG 04 04 04 09
                                                                                                       Page 4 of 5




                                                                                                            DEF-000046
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 31 of 73 PageID #:
                                    1759




     3. "Coverage territory" means the United States                 a. An incident of violence that is caused by
        of America (including its territories and                       an intentional criminal act or a series of
        possessions), Puerto Rico and Canada.                           related intentional criminal acts (including,
                                                                        but not limited to, a bombing or a
     4. "Hostage situation" means a situation in                        shooting) that results in one or more
        which persons are held captive and                              persons, excluding the perpetrator(s),
        restrained by someone who threatens to                          sustaining "critical injury"; or
        inflict "critical injury", and the circumstances
        cause a reasonable adult to conclude the                     b. A "hostage situation".
        captives are at risk of "critical injury".
                                                                     Any and all related acts associated with
     5. "Immediate family member" means a legal                      Paragraphs a. and b. immediately above will
        spouse, parent, child, sibling, grandparent, or              be considered one "violent        incident"
        other family member residing in the home of                  regardless of the time in which the events
        the "victim". Foster parents, foster children                occur or the location of events. A "violent
        or other persons related by marriage or legal                incident" with multiple events shall be
        adoption are also included in immediate                      deemed to occur at the time of the first
        family.                                                      related "violent incident".

     6. "Sponsored activity" means any activity or                   However, "violent incident" does not mean:
        event, organized physically or financially by
        you.                                                         a. The written or verbal threat of carrying
                                                                        out an event described in Paragraphs a.
     7. "Victim" means any person upon whom a                           and b. immediately above; or
        "critical injury" is inflicted, or who is held in a
        "hostage situation", arising from a "violent                 b. A "certified act of terrorism".
        incident".
                                                                9. "Witness" means any person who is at the
     8. "Violent incident" means:                                  physical location of, and personally observes,
                                                                   a "violent incident".




                                         Copyright 2009 GuideOne Insurance                        GCG 04 04 04 09
                                                                                                           Page 5 of 5




                                                                                                                DEF-000047
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 32 of 73 PageID #:
                                    1760




                 LEGAL EXPENSE REIMBURSEMENT COVERAGE
                         COVERAGE LR LEGAL EXPENSE REIMBURSEMENT COVERAGE

     Various provisions in Coverage LR restrict                                   (1) The      "suit"    results    from    a
     coverage. Read this document and the entire                                       "reimbursable incident" that occurs
     policy carefully to determine your rights, duties                                 in the "coverage territory" and during
     and what is and is not covered.                                                   the policy period; and

     Throughout this document, the words "you" and                                (2) The "legal expenses" are incurred
     "your", whether appearing in quotation marks or                                   and reported within one year of the
     not, refer strictly to the Named Insured shown in                                 date of the "reimbursable incident".
     the Declarations and any other person or
     organization qualifying or designated as a Named                  2. Exclusions
     Insured within Section II -- Who Is An Insured --
     Coverage LR. The words "we", "us" and "our"                            a.    We will not reimburse any "legal
     refer to the Company providing this coverage.                                expenses", regardless of when incurred:

     The word "insured" is limited and means any                                  (1) If the "legal expenses" are paid or
     person or organization qualifying as such under                                  are obligated to be paid under any
     Section II -- Who Is An Insured -- Coverage LR.                                  other contract of insurance.

     Other words and phrases that appear in quotation                                  This provision applies whether or not
     marks have special meaning. Refer to both                                         the defense, being undertaken under
     Section V -- Definitions of the Commercial                                        a contract of insurance, is subject to
     General Liability Coverage Form, and the other                                    a Reservation of Rights or a Non-
     definitions provided herein which are unique and                                  waiver Agreement or is being done
     specific to Coverage LR.                                                          gratuitously.

     SECTION I -- COVERAGES -- COVERAGE LR                                        (2) If the "legal expenses" are paid or
                                                                                      are obligated to be paid by any
     Coverage LR is merged within and is a                                            person, association of persons, or
     comprised part of the Commercial General                                         entity, including but not limited to any
     Liability Coverage Form. The coverage provided                                   legal services plan or benefit.
     by Coverage LR is distinct and separate from any
     other coverage provided under the Commercial                           b. We will not reimburse any "legal
     General Liability Coverage Form.                                          expenses" arising out of or attributable
                                                                               to:
     COVERAGE    LR    LEGAL                       EXPENSE
     REIMBURSEMENT COVERAGE                                                       (1) Any "suit" or dispute between any
                                                                                      insured and us.
     1. Insuring Agreement
                                                                                  (2) Any dispute between insureds.
        a.   We     will  reimburse  those   "lega l
             expenses" incurred by the insured that                               (3) "Sexual misconduct or molestation"
             arise out of a "suit" to which this                                      or "sexual harassment".
             insurance applies.
                                                                                  (4) The rendering of, or failure to render,
        b. Our obligation is limited to paying "legal                                 any professional services.
           expenses" only if you or any affected
           insured are named as defendants in a                        SECTION II --            WHO          IS   AN INSURED --
           "suit";                                                     COVERAGE LR

        provided that:                                                 Section II -- Who Is An Insured of the
                                                                       Commercial General Liability Coverage Form is
                                                                       incorporated by reference.




                    Includes copyrighted material of Insurance Services Office, Inc., with its permission.        GCG 28 10 04 09
                                          Copyright 2009 GuideOne Insurance                                              Page 1 of 3




                                                                                                                              DEF-000048
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 33 of 73 PageID #:
                                    1761




     SECTION III -- LIMITS OF INSURANCE AND                             The Limits of Insurance of Coverage LR apply
     DEDUCTIBLE -- COVERAGE LR                                          separately to each consecutive annual period and
                                                                        to any remaining period of less than 12 months,
     The following Limits of Insurance provisions are                   starting with the beginning of the policy period
     unique to Coverage LR. For purposes of this                        shown in the Declarations, unless the policy
     Coverage, none of Section III -- Limits Of                         period is extended after issuance for an additional
     Insurance of the Commercial General Liability                      period of less than 12 months. In that case, the
     Coverage Form is incorporated by reference and                     additional period will be deemed part of the last
     shall not be relied upon in determining the limits                 preceding period for purposes of determining the
     of available coverage.                                             Limits of Insurance.

     1. The Limits of Insurance shown in the                            SECTION IV -- CONDITIONS -- COVERAGE LR
        Declarations for Coverage LR and the rules
        below fix the most we will pay regardless of                    The following conditions are unique to Coverage
        the number of:                                                  LR. The remainder of Section IV -- Conditions of
                                                                        the Commercial General Liability Coverage Form
         a.   Insureds;                                                 is incorporated by reference. The conditions and
                                                                        duties described in Paragraph 2. herein will
         b. "Suits" brought;                                            supersede those contained in Paragraph 2. of
                                                                        Section IV -- Conditions of the Commercial
         c.   Persons or organizations bringing "suits" ;               General Liability Coverage Form.
              or
                                                                        1. Duty To Investigate Or Defend
         d. Policies involved.
                                                                             We have no duty or right to investigate or
     2. The     Legal     Expense     Reimbursement                          defend any "suit" brought against you to
        Aggregate Limit is the most we will pay as                           which this coverage applies.
        reimbursement of the sum of all "legal
        expenses" incurred as a result of all "suits"                   2. Duties In The Event Of A Reimbursable
        brought or filed against an insured within the                     Incident Or Suit
        policy period, regardless of when such
        "suits" are actually concluded.                                      a.    You must see to it that we are notified as
                                                                                   soon as practicable of your becoming
     3. Subject to Paragraph 2. above, the Legal                                   aware of any "reimbursable incident" that
        Expense Reimbursement Each Incident Limit                                  may result in a "suit" to which this
        is the most we will pay as reimbursement of                                coverage applies.        To the extent
        the sum of all "legal expenses" incurred as a                              possible, notice should include:
        result of all "suits" brought or filed against
        any insured for any one "reimbursabl e                                     (1) The nature of          the "reimbursabl e
        incident".                                                                     incident"; and

     4. Deductible                                                                 (2) How,    when     and     where    the
                                                                                       "reimbursable incident" took place.
         Our obligation for the reimbursement of
         "legal expenses", as described in Paragraphs                        b. If "suit" is brought against the insured,
         1., 2. and 3. immediately above, applies only                          you must:
         to the amount of "legal expenses" in excess
         of the applicable deductible for each "suit" ,                            (1) Notify us as soon as practicable of
         shown in the Declarations. In the event no                                    the "suit" brought against the insured
         deductible amount is shown in the                                             and provide us with all documents
         Declarations, the deductible is $1,000 for                                    related to the incident.
         each "suit". The limits of insurance shall not
         be reduced by the amount of this deductible.                              (2) As soon as practicable, provide us
                                                                                       written notice of the "suit".  This
     5. No person shall be entitled to receive                                         notice should include the nature of
        duplicate payments for the insurance granted                                   the "suit" and how, when and where
        in Coverage LR and any other Coverage form                                     the "reimbursable incident" took
        or endorsement issued by us or any other                                       place.
        organization.




                     Includes copyrighted material of Insurance Services Office, Inc., with its permission.    GCG 28 10 04 09
                                                 Copyright 2009 GuideOne Insurance                                     Page 2 of 3




                                                                                                                            DEF-000049
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 34 of 73 PageID #:
                                    1762




             (3) Provide us the name, address and                      2. "Coverage territory" means the United States
                 other information sufficient to identify                  of America (including its territories and
                 the attorney or firm who will be                          possessions), Puerto Rico and Canada.
                 defending you in the "suit".
                                                                       3. "Damages" means compensatory                  tort   or
     3. Attorney Selection                                                 punitive damages allowed by law.

         We have no duty or right to choose an                         4. "Legal expenses" means and is limited to
         attorney for you. You have the duty and right                     reasonable and necessary attorney fees,
         to choose your own attorney. However, your                        expenses, court costs and the cost of appeal
         attorney must be licensed to provide legal                        bonds that are directly related to defending
         services.     We have no duties, rights or                        "suits" against the insured or any affected
         responsibilities regarding the attorney you                       insured. "Legal expenses" do not include
         choose.                                                           the amounts of any "damages".          "Legal
                                                                           expenses" do not include any retainer fees.
     4. Two or More Policies
                                                                       5. "Reimbursable incident" means a single or
         If two or more policies issued by us include                      series of interrelated continuing actual or
         Coverage LR that applies to the same                              alleged: acts, errors or omissions of the
         insured and these policies also apply to the                      insured; all of which together constitute a
         same "defensible incident" , the maximum                          single reimbursable incident.       However,
         amount we will pay as reimbursement of                            "reimbursable incident" does not include any
         "legal expenses" under all the policies will                      deliberate acts, errors or omissions for
         not exceed the highest applicable Limit of                        purposes of causing a "suit" to be initiated or
         Insurance for Coverage LR that applies to                         filed against you.
         any one of the policies.
                                                                       6. "Suit" means any:
     SECTION V -- DEFINITIONS -- COVERAGE LR
                                                                            a.    Proceeding in a civil court to recover
     The following words or phrases have a specific                               "damages" or other equitable relief to
     and unique meaning to Coverage LR.             The                           which this coverage applies;
     remainder of Section V -- Definitions of the
     Commercial General Liability Coverage Form is                          b. Proceeding any insured must attend as a
     incorporated by reference. Certain definitions                            result of an administrative agency action;
     contained within Section V -- Definitions of the                          or
     Commercial General Liability Coverage Form may
     be reproduced for ease of reference in this                            c.    "Alternative dispute resolution".
     document. The definitions provided herein will
     supersede     the   corresponding      definitions                     All "suits",    counterclaims, countersuits,
     contained in Section V -- Definitions of the                           amended complaints or similar proceedings
     Commercial General Liability Coverage Form.                            related to the same "reimbursable incident"
                                                                            shall be considered one "suit".
     1. "Alternative dispute resolution" includes, but
         is not limited to:    negotiation, mediation,
         arbitration, or summary jury trials.




                    Includes copyrighted material of Insurance Services Office, Inc., with its permission.   GCG 28 10 04 09
                                                Copyright 2009 GuideOne Insurance                                     Page 3 of 3




                                                                                                                           DEF-000050
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 35 of 73 PageID #:
                                    1763




                       SEXUAL MISCONDUCT LIABILITY COVERAGE
        COVERAGE SL SEXUAL MISCONDUCT LIABILITY AND COVERAGE SP MEDICAL PAYMENTS

     Various provisions in Coverages SL and SP                          (1) The amount we will pay for
     restrict coverage. Read this document and the                          "damages" is limited as described in
     entire policy carefully to determine rights, duties                    Section III -- Limits Of Insurance --
     and what is and is not covered.                                        Coverages SL and SP; and

     Throughout this document the words "you" and                       (2) Our duty to defend ends when we
     "your" refer strictly to the Named Insured shown                       have used up the applicable limit of
     in the Declarations and any other person or                            insurance in the payment of
     organization qualifying as a Named Insured within                      judgments or settlements under
     Section II -- Who Is An Insured -- Coverages SL                        Coverage SL.
     and SP. The words "we", "us" and "our" refer to
     the company providing this Coverage.                               No other obligation or liability to pay
                                                                        sums or perform acts or services is
     The word "insured" is limited and means any                        covered unless explicitly provided for
     person or organization qualifying as such under                    under Paragraph 3. Supplementary
     Section II -- Who Is An Insured -- Coverages SL                    Payments.
     and SP.
                                                                   b. This Coverage applies to "injury" only if:
     Other words and phrases that appear in quotation
     marks have special meaning. Refer to both                          (1) The "injury" is caused by a "sexual
     Section V -- Definitions of the Commercial                             misconduct occurrence" that takes
     General Liability Coverage Form, and the other                         place in the "coverage territory"; and
     definitions provided herein which are unique and
     specific to Coverages SL and SP.                                   (2) The first act of a "sexual misconduct
                                                                            occurrence" first commences during
     SECTION I -- COVERAGES                                                 the policy period.

     Coverages SL and SP are merged within and are                 c.   Coverage SL does not apply to claims
     a comprised part of the Commercial General                         made or "suits" brought against any
     Liability Coverage Form. The coverages provided                    person who actually or personally
     by Coverages SL and SP are distinct and                            participates in, directs or knowingly
     separate from any other coverage provided by or                    allows to take place any act of "sexual
     within Section I -- Coverages of the Commercial                    misconduct or sexual molestation". We
     General Liability Coverage Form.                                   shall have no obligation or duty to
                                                                        investigate, defend, settle or pay
     COVERAGE         SL    SEXUAL      MISCONDUCT                      judgments on behalf of any such person
     LIABILITY                                                          as described in this paragraph.

     1. INSURING AGREEMENT                                    2. EXCLUSIONS

         a.   We will pay those sums that the insured              The insurance granted by this Coverage shall
              becomes legally obligated to pay as                  not apply to:
              "damages" because of "injury" arising
              out of or resulting from a "sexual                   a.   Participation In Sexual Misconduct Or
              misconduct      occurrence"     to   which                Sexual Molestation
              Coverage SL applies. We will have the
              right and duty to defend the insured                      Any person who actually or personally
              against any "suit"         seeking those                  participated in, directed, or knowingly
              "damages". However, we will have no                       allowed any act of "sexual misconduct or
              duty to defend the insured against any                    sexual molestation". We shall have no
              "suit" seeking "damages" to which                         duty to investigate, defend or settle any
              Coverage SL does not apply. We may,                       claim or "suit " brought against any such
              at our discretion, investigate any "sexual                person as described in this paragraph.
              misconduct occurrence" and settle any
              claim or "suit" that may result. But:




                                       Copyright 2009 GuideOne Insurance                       GCG 74 10 04 09
                                                                                                        Page 1 of 6




                                                                                                             DEF-000051
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 36 of 73 PageID #:
                                    1764




        b. Criminal Or Penal Regulation Or Statute                 g. Exemplary Or Punitive Damages

             The cost of defense of, or the cost of                     Any exemplary or punitive damages,
             paying any fines for, any person resulting                 multiplied damages, fines or penalties.
             from any actual or alleged violation of any
             criminal or penal regulation or statute.              h. Ecclesiastical Liability

        c.   Breach Of Contract                                         Any claim or "suit"          based upon,
                                                                        attributable to, or arising out of any
             Any claim arising out of a breach of                       ecclesiastical law, statute, canon, rule, or
             contract.                                                  regulation.

        d. Contractual Liability                                   i.   Acts Occurring Between Family Members

             Any claim for which the insured is                         Any claim arising out of "sexual
             obligated to pay "damages" because of                      misconduct or sexual molestation"
             the assumption of the tort liability of                    occurring between "family members".
             another party in a contract or agreement.
             This exclusion does not apply to liability       3. SUPPLEMENTARY PAYMENTS
             for "damages" that the insured would
             have in the absence of the contract or                The following supplementary payments are
             agreement.                                            unique to Coverage SL. For purposes of
                                                                   Coverage SL, none of Section I --
        e. Workers'      Compensation     And    Similar           Supplementary Payments -- Coverages A
           Laws                                                    and B of the Commercial General Liability
                                                                   Coverage Form is incorporated by reference
             Any obligation of the insured under a                 and shall not be relied upon in determining
             workers' compensation, disability benefits            the supplementary payments made under
             or unemployment compensation law or                   Coverage SL.
             any similar law.
                                                                   We will pay, with respect to any claim we
        f.   Employer's Liability                                  investigate or settle or any "suit" against an
                                                                   insured we defend:
             Any "injury" to:
                                                                   a.   All expenses we incur.
             (1) An "employee" of the insured arising
                 out of or in the course of:                       b. All reasonable expenses incurred by the
                                                                      insured at our request to assist us in the
                 (a) Employment by the insured; or                    investigation or defense of the claim or
                                                                      "suit", including actual loss of earnings
                 (b) Performing duties related to the                 up to $500 a day because of time off
                     conduct    of   the     insured's                from work.
                     business; or
                                                                   c.   All court costs taxed against the insured
             (2) The spouse, child, parent, brother or                  in a "suit". However, these payments do
                 sister of that "employee" as a                         not include plaintiff attorneys' fees or
                 consequence of Paragraph (1)                           plaintiff attorneys' expenses taxed against
                 above.                                                 the insured.

             This exclusion applies:                               d. All interest on the full amount of any
                                                                      judgment that accrues after entry of the
             (1) Whether the insured may be liable as                 judgment and before we have paid,
                 an employer or in any other capacity;                offered to pay, or deposited in court the
                 and                                                  part of the judgment that is within the
                                                                      applicable limit of insurance.
             (2) To   any     obligation  to share
                 "damages" with or repay someone                   These payments will not reduce the limits of
                 else who must pay "damages"                       insurance under Coverage SL.
                 because of the "injury".




                                       Copyright 2009 GuideOne Insurance                         GCG 74 10 04 09
                                                                                                          Page 2 of 6




                                                                                                               DEF-000052
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 37 of 73 PageID #:
                                    1765




     COVERAGE SP MEDICAL PAYMENTS                            For purposes unique to Coverages SL and SP:

     1. INSURING AGREEMENT                                   1. Your "volunteer       workers"      only while
                                                                performing duties related to the conduct of
        a.   We will pay medical and counseling                 your business or your "employees", other
             expenses because of "injury" arising out           than either your "executive officers" (if you
             of a "sexual misconduct occurrence" to             are an organization other than a partnership,
             which this insurance applies provided              joint venture or limited liability company) or
                                                                your managers (if you are a limited liability
             that:
                                                                company) are also an insured, but only for
                                                                acts within the scope of their employment by
             (1) The "injury" is caused by a "sexual            you or while performing duties related to the
                 misconduct occurrence" that "firs t            conduct of your business. However, none of
                 commences"      in the "coverage               these "employees" or "volunteer workers"
                 territory" and during the policy               are insureds for "sexual misconduct or
                 period;                                        sexual molestation" that results in "injury":

             (2) The expenses are incurred and                    a.   To you, to your partners or members of a
                 reported to us within one year from                   joint venture (if you are a partnership or
                 the date of "injury"; and                             joint venture), to your members of a
                                                                       limited liability company (if you are a
                                                                       limited liability company), or to a co-
             (3) The injured person submits to                         "employee" while in the course of his or
                 examination, at our expense, by                       her employment or while performing
                 physicians of our choice as often as                  duties related to the conduct of your
                 we reasonably require.                                business;

        b. We will pay reasonable expenses for                    b. To the spouse, child, parent, brother or
           necessary professional services for                       sister of that co-"employee" as a
           treatment of "injury" resulting from a                    consequence of Paragraph 1.a. above; or
           "sexual     misconduct       occurrence",
           regardless of fault. These payments will               c.   For which there is any obligation to share
           not exceed the Sexual Misconduct                            "damages" with or repay someone else
                                                                       who must pay "damages" because of the
           Medical Payments limit of insurance.                        "injury" described in Paragraphs 1.a. or
                                                                       1.b. above.
             The payment of such expenses is not an
             admission of liability under this policy.       2. Regardless of any provision to the contrary,
                                                                the following is not an insured:
     2. EXCLUSIONS
                                                                  a.   Any person who actually or personally
        We will not pay medical and counseling                         participated in, directed, or knowingly
        expenses for "injury" which is excluded                        allowed any act of "sexual misconduct or
        under Paragraph 2. Exclusions of Coverage                      sexual molestation".    Furthermore, we
        SL Sexual Misconduct Liability.                                shall have no duty to investigate, defend
                                                                       or settle any claim or "suit" brought
     SECTION II -- WHO IS          AN INSURED         --               against any such person as described in
     COVERAGES SL AND SP                                               this paragraph.

     The following provisions are unique to Coverages             b. Any person or organization with respect
     SL and SP. For purposes of Coverages SL and                     to the conduct of any current or past
     SP, Paragraph 1. of Section II -- Who Is An                     partnership, joint venture or limited
     Insured of the Commercial General Liability                     liability company that is not shown as a
     Coverage Form is incorporated by reference.                     Named Insured in the Declarations.
     None of the remaining provisions of Section II --
     Who Is An Insured of the Commercial General             SECTION III -- LIMITS OF INSURANCE --
     Liability Coverage Form apply to Coverages SL           COVERAGES SL AND SP
     and SP and shall not be relied upon in
     determining who is an insured under Coverages           The following Limits of Insurance provisions are
     SL and SP.                                              unique to Coverages SL and SP. For purposes of
                                                             Coverages SL and SP, none of Section III --



                                      Copyright 2009 GuideOne Insurance                       GCG 74 10 04 09
                                                                                                       Page 3 of 6




                                                                                                            DEF-000053
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 38 of 73 PageID #:
                                    1766




     Limits Of Insurance of the Commercial General                we will have no further duty to defend any
     Liability Coverage Form is incorporated by                   claims or "suits", whether pending at that
     reference and shall not be relied upon in                    time or started afterwards.
     determining the limits of available coverage under
     Coverages SL and SP.                                    4. If two or more policies or Coverages issued
                                                                by us apply to the same insured and these
     1. Our obligation to pay "damages" for any one             policies or Coverages also apply to the same
        "sexual misconduct occurrence" is the                   claim or "suit", the maximum amount we will
        Sexual Misconduct Liability Each Claim Limit            pay as "damages" under all of the policies or
        shown in the Declarations. All claims for               Coverages will not exceed the highest
        "damages" because of "injury" arising out of            applicable Limit of Insurance that applies to
        a "sexual misconduct occurrence" including              any one of the policies or Coverages.
        "damages" claimed by all persons or
        organizations for care, loss of services, or              This condition does not apply to any
        death resulting at any time from the "sexual              insurance that was purchased specifically to
        misconduct occurrence", shall be considered               apply in excess of the applicable Limits of
        one "sexual misconduct occurrence".                       Insurance shown in the Declarations.

         Our total obligation for all "damages"              SECTION IV -- CONDITIONS -- COVERAGE SL
         covered by Coverage SL is the Sexual
         Misconduct Liability Aggregate Limit shown in       The following conditions are unique to Coverage
         the Declarations regardless of the number of:       SL. The remainder of Section IV -- Conditions of
                                                             the Commercial General Liability Coverage Form
         a.   Insureds;                                      is incorporated by reference. The conditions and
                                                             duties provided herein will supersede those
         b. Claims made or "suits" brought;                  contained in Paragraphs 2. and 4. of Section IV --
                                                             Conditions of the Commercial General Liability
         c.   Persons or organizations making claims         Coverage Form.
              or bringing "suits";
                                                             1. Duties In The Event Of An Occurrence,
         d. Policies involved; or                               Claim Or Suit

         e. "Sexual misconduct occurrences".                      Consistent with the Insuring       Agreement
                                                                  contained within Coverage SL:
     2. The Sexual Misconduct Medical Expense
        Limit shown in the Declarations is the most               a.   Occurrence Or Incident Reporting
        we will pay for all medical and counseling
        expenses because of "injury " arising out of a                 You must see to it that we are notified,
        "sexual misconduct occurrence", regardless                     by the means and methods determined
        of:                                                            by us, within thirty (30) days of the date
                                                                       you become aware of any "sexual
                                                                       misconduct occurrence", incident or
         a.   The number of claims, claimants,                         circumstance which may reasonably be
              persons acted upon, or injured persons;                  expected to result in a claim. To the
                                                                       extent possible, notice should include:
         b. The number of incidents or locations
            involved;                                                  (1) How, when and where the "sexual
                                                                           misconduct occurrence", incident or
         c.   The period of time during which the acts                     circumstance took place; and
              of "sexual      misconduct or sexual
              molestation" took place; or                              (2) The names and addresses of any
                                                                           injured persons and witnesses.
         d. When "damages" are sustained.
                                                                  b. Claim Reporting
         The Sexual Misconduct Medical Expense
         Limit available is the Sexual Misconduct                      If a claim or "suit" is received by any
         Medical Expense Limit in force at the time                    insured, you must:
         the first act of "sexual misconduct or sexual
         molestation" first commences.                                 (1) Immediately record the specifics of
                                                                           the claim or "suit" and the date
     3. When we have used up the limits described                          received; and
        herein by paying settlements or judgments,



                                      Copyright 2009 GuideOne Insurance                       GCG 74 10 04 09
                                                                                                       Page 4 of 6




                                                                                                            DEF-000054
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 39 of 73 PageID #:
                                    1767




             (2) Promptly notify us.                                    defend. If no other insurer defends, we
                                                                        will undertake to do so, but we will be
             You must see to it that we receive                         entitled to the insured's rights against all
             prompt written notice of the claim or                      those other insurers.
             "suit".
                                                                        When this insurance is excess over other
        c.   Other Duties                                               insurance, we will pay only our share of
                                                                        the amount of the loss, if any, that
             You and any other involved insured must:                   exceeds the sum of:

             (1) Immediately send us copies of any                      (1) The total amount that all such other
                 demands, notices, summonses or                             insurance would pay for the loss in
                 legal papers received in connection                        the absence of this insurance; and
                 with the claim or "suit";
                                                                        (2) The total of all deductible and self-
             (2) Authorize us to obtain records and                         insured amounts under all that other
                 other information;                                         insurance.

             (3) Cooperate      with    us     in  the                  We will share the remaining loss, if any,
                 investigation, settlement or defense                   with any other insurance that was not
                 of     the     "sexual     misconduct                  bought specifically to apply in excess of
                 occurrence", claim or "suit"; and                      the applicable Limits of Liability shown in
                                                                        the Declarations.
             (4) Assist us, upon our request, in the
                 enforcement of any right against any              c.   Method Of Sharing
                 person or organization which may be
                 liable to you because of "injury" or                   If all of the other insurance permits
                 "damages" to which this insurance                      contribution by equal shares, we will
                 may also apply.                                        follow this method also. Under this
                                                                        approach each insurer contributes equal
        d. No Voluntary Payments                                        amounts until it has paid its applicable
                                                                        limit of insurance or until none of the loss
             No insured will, except at that insured's                  remains, whichever comes first.
             own cost, voluntarily make a payment,
             assume any obligation, or incur any                        If any of the other insurance does not
             expense, other than for first aid, without                 permit contribution by equal shares, we
             our consent.                                               will contribute by limits. Under this
                                                                        method, each insurer's share is based on
     2. Other Insurance                                                 the ratio of its applicable limit of
                                                                        insurance to the total applicable limits of
        If other valid and collectible insurance is                     insurance of all insurers.
        available to the insured for a loss we cover
        under Coverage SL, our obligations are                SECTION V -- DEFINITIONS -- COVERAGES SL
        limited as follows:                                   AND SP

        a.   Primary Insurance                                The following words or phrases have a specific
                                                              and unique meaning to Coverages SL and SP.
             This insurance is primary except when            The remainder of Section V -- Definitions of the
             stated to apply in excess of, or                 Commercial General Liability Coverage Form is
             contingent upon the absence of other             incorporated by reference. Certain definitions
             insurance and b. below applies. If this          contained within Section V -- Definitions of the
             insurance is primary, our obligations are        Commercial General Liability Coverage Form may
             not affected unless any of the other             be reproduced for ease of reference in this
             insurance is also primary. Then, we will         document. The definitions provided herein will
             share with all that other insurance by the       supersede      the    corresponding    definitions
             method described in Paragraph c. below.          contained in Section V of the Commercial
                                                              General Liability Coverage Form.
        b. Excess Insurance
                                                              1. "Coverage territory" means anywhere in the
             When this insurance is excess, we will              world provided that the claim is made, and
             have no duty to defend any claim or                 any "suit" that may arise therefrom is filed,
             "suit" that any other insurer has a duty to         within the United States of America (including



                                       Copyright 2009 GuideOne Insurance                         GCG 74 10 04 09
                                                                                                          Page 5 of 6




                                                                                                               DEF-000055
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 40 of 73 PageID #:
                                    1768




         its territories and possessions), Puerto Rico             In determining our liability under Coverage
         or Canada.                                                SL, all acts of "sexual misconduct or sexual
                                                                   molestation" by one person, or two or more
     2. "Damages" mean only those compensatory                     persons acting together, or any breach of
        tort damages allowed by law.                               duty causing or contributing to such acts, or
                                                                   any defamation or slander arising out of or
     3. "Family members" means persons who are:                    resulting from any actual or alleged act of
                                                                   "sexual misconduct or sexual molestation"
         a.   Legally married to each other; or                    will be deemed and construed as one "sexual
                                                                   misconduct occurrence" and one claim,
         b. Related by blood or legal adoption,                    regardless of:
            limited to the following kindred: parents,
                                                                   a.   The number of claims, claimants,
            children, siblings, grandparents and                        persons acted upon, or injured persons;
            grandchildren.
                                                                   b. The number of incidents or locations
         "Family members" includes wards or foster                    involved;
         children of persons described in a. or b.
         above.                                                    c.   The period of time during which the acts
                                                                        of "sexual      misconduct or sexual
     4. "Injury" means "bodily injury", sickness or                     molestation" took place; or
        disease, including death resulting from any of
        these at any time, mental anguish or                       d. When "damages" are sustained.
        emotional distress.
                                                              7. "Sexual misconduct or sexual molestation"
     5. "Sexual harassment" means unwelcome                      means any activity which is sexual in nature
        sexual advances, requests for sexual favors,             (whether permitted or not permitted); and
        or other verbal, visual or physical conduct of           includes, but is not limited to: sexual assault,
        a sexual nature when such conduct:                       sexual battery, sexual relations, sexual acts,
                                                                 sexual activity, sexual handling, sexual
         a.   Is linked implicitly or explicitly with a          massage, sexual exploitation, sexual exhibition,
              decision affecting a term or condition of          sexual stimulation, fondling, intimacy, exposure
              any individual's employment;                       of sexual organs, lewd or lascivious behavior or
                                                                 indecent exposure, fornication, unauthorized
         b. Interferes with     any    individual's   job        touching, or the photographic, video or other
            performance;                                         reproduction of sexual activity.

         c.   Creates an intimidating, hostile or                  However, "sexual misconduct or sexual
              offensive working environment for any                molestation" does not include "sexual
              individual; or                                       harassment".

         d. Arises out of or is related to an unlawful        8. "Suit" means a civil proceeding in which
            employment practice as codified at 42                "damages" because of "sexual misconduct
            U.S.C.A. h 2000e-2(a), or any pendant                or sexual molestation" to which Coverage SL
            State, municipal or local code, regulation           applies are alleged. "Suit" includes:
            or ordinance.
                                                                   a.   An arbitration proceeding in which such
     6. "Sexual misconduct occurrence" means a                          "damages" are claimed and to which the
        single act, or multiple, continuous, repeated,                  insured must submit or does submit with
        sporadic or related acts of "sexual                             our consent; or
        misconduct or sexual molestation" by one
        person, or two or more persons acting                      b. Any other alternative dispute resolution
        together, or any breach of duty causing or                    proceeding in which such "damages" are
        contributing to such acts, or any defamation                  claimed and to which the insured submits
        or slander arising out of or resulting from any               with our consent.
        actual or alleged act of "sexual misconduct
        or sexual molestation".




                                       Copyright 2009 GuideOne Insurance                      GCG 74 10 04 09
                                                                                                       Page 6 of 6




                                                                                                            DEF-000056
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 41 of 73 PageID #:
                                    1769




                                                COMMERCIAL GENERAL LIABILITY
                                                            COVERAGE FORM
                                                                                                                FAITHGUARD

     Various provisions in this policy restrict coverage.                          No other obligation or liability to pay
     Read the entire policy carefully to determine                                 sums or perform acts or services is
     rights, duties and what is and is not covered.                                covered unless explicitly provided for
                                                                                   under Supplementary Payments --
     Throughout this policy the words "you" and                                    Coverages A and B.
     "your" refer strictly to the Named Insured shown
     in the Declarations, and any other person or                            b. This insurance applies to "bodily injury"
     organization qualifying as a Named Insured under                           and "property damage" only if:
     this policy. The words "we", "us" and "our"
     refer to the company providing this insurance.                                (1) The "bodily injury" or "property
                                                                                       damage"     is     caused   by    an
     The word "insured" means any person or                                            "occurrence" that takes place in the
     organization qualifying as such under Section II --                               "coverage territory";
     Who Is An Insured.
                                                                                   (2) The "bodily injury" or "property
     The word "damages", whether appearing in                                          damage" occurs during the policy
     quotation marks or not, shall have the special                                    period; and
     meaning described in Section V -- Definitions.
                                                                                   (3) Prior to the policy period, no insured
     Other words and phrases that appear in quotation                                  listed under Paragraph 1. of Section
     marks have special meaning. Refer to Section V                                    II -- Who Is An Insured and no
     -- Definitions.                                                                   "employee" authorized by you to
                                                                                       give or receive notice of an
     SECTION I -- COVERAGES                                                            "occurrence" or claim, knew that the
                                                                                       "bodily injury" or "property damage"
     COVERAGE   A  BODILY    INJURY                        AND                         had occurred, in whole or in part. If
     PROPERTY DAMAGE LIABILITY                                                         such a listed insured or authorized
                                                                                       "employee" knew, prior to the policy
     1. Insuring Agreement                                                             period, that the "bodily injury" or
                                                                                       "property damage" occurred, then
         a. We will pay those sums that the insured                                    any     continuation,    change     or
            becomes legally obligated to pay as                                        resumption of such "bodily injury" or
            "damages" because of "bodily injury" or                                    "property damage" during or after
            "property     damage" to which this                                        the policy period will be deemed to
            insurance applies. We will have the right                                  have been known prior to the policy
            and duty to defend the insured against                                     period.
            any "suit" seeking those "damages".
            However, we will have no duty to defend                          c. "Bodily injury" or "property damage"
            the insured against any "suit" seeking                              which occurs during the policy period and
            "damages"       for "bodily     injury"  or                         was not, prior to the policy period, known
            "property     damage" to which this                                 to have occurred by any insured listed
            insurance does not apply. We may, at                                under Paragraph 1. of Section II -- Who
            our      discretion,    investigate     any                         Is An Insured or any "employee"
            "occurrence" and settle any claim or                                authorized by you to give or receive
            "suit" that may result. But:                                        notice of an "occurrence" or claim,
                                                                                includes any continuation, change or
             (1) The amount we will pay for                                     resumption of that "bodily injury" or
                 "damages" is limited as described in                           "property damage" after the end of the
                 Section III -- Limits Of Insurance; and                        policy period.

             (2) Our right and duty to defend ends                           d. "Bodily injury" or "property damage" will
                 when we have used up the applicable                            be deemed to have been known to have
                 limit of insurance in the payment of                           occurred at the earliest time when any
                 judgments or settlements under                                 insured listed under Paragraph 1. of
                 Coverages A or B or medical                                    Section II -- Who Is An Insured or any
                 expenses under Coverage C.                                     "employee" authorized by you to give or


                     Includes copyrighted material of Insurance Services Office, Inc., with its permission.   PCG 25 10 04 09
                                           Copyright 2009 GuideOne Insurance                                        Page 1 of 23




                                                                                                                          DEF-000057
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 42 of 73 PageID #:
                                    1770




             receive notice of an "occurrence"                 or                       purposes of liability assumed in an
             claim:                                                                     "insured     contract",   reasonable
                                                                                        attorney fees and necessary litigation
             (1) Reports all, or any part, of the "bodily                               expenses incurred by or for a party
                 injury" or "property damage" to us or                                  other than an insured are deemed to
                 any other insurer;                                                     be "damages" because of "bodily
                                                                                        injury"   or   "property   damage",
             (2) Receives a written or verbal demand                                    provided:
                 or claim for "damages" because of
                 the "bodily injury" or "property                                       (a) Liability to such party for, or for
                 damage"; or                                                                the cost of, that party's defense
                                                                                            has also been assumed in the
             (3) Becomes aware by any other means                                           same "insured contract"; and
                 that "bodily injury" or "property
                 damage" has occurred or has begun                                      (b) Such attorney fees and litigation
                 to occur.                                                                  expenses are for defense of that
                                                                                            party against a civil or alternative
        e. "Damages" because of "bodily injury"                                             dispute resolution proceeding in
           include "damages" claimed by any                                                 which "damages" to which this
           person or organization for care, loss of                                         insurance applies are alleged.
           services or death resulting at any time
           from the "bodily injury".                                         c. Liquor Liability

        f.   "Damages" because of "bodily injury"                                  "Bodily injury" or "property damage" for
             includes incidental medical malpractice                               which any insured may be held liable by
             "damages" sustained because of the                                    reason of:
             administration of or failure to administer
             first aid including the use of automated                              (1) Causing or contributing           to    the
             external defibrillators.                                                  intoxication of any person;

     2. Exclusions                                                                 (2) The furnishing of alcoholic beverages
                                                                                       to a person under the legal drinking
        This insurance does not apply to:                                              age or under the influence of alcohol;
                                                                                       or
        a. Expected Or Intended Injury
                                                                                   (3) Any statute, ordinance or regulation
             "Bodily injury" or "property damage"                                      relating to the sale, gift, distribution or
             expected or intended from the standpoint                                  use of alcoholic beverages.
             of the insured. This exclusion does not
             apply to "bodily injury" or "property                                 This exclusion applies only if you are in
             damage" resulting from the use of                                     the      business      of    manufacturing,
             reasonable force to protect persons or                                distributing, selling, serving or furnishing
             property.                                                             alcoholic beverages.

        b. Contractual Liability                                             d. Workers' Compensation And Similar
                                                                                Laws
             "Bodily injury" or "property damage" for
             which the insured is obligated to pay                                 Any obligation of the insured under a
             "damages" by reason of the assumption                                 workers' compensation, disability benefits
             of liability in a contract or agreement.                              or unemployment compensation law or
             This exclusion does not apply to liability                            any similar law.
             for "damages":
                                                                             e. Employer's Liability
             (1) That the insured would have in the
                 absence    of   the   contract  or                                "Bodily injury" to:
                 agreement; or
                                                                                   (1) An "employee" of the insured arising
             (2) Assumed in a contract or agreement                                    out of and in the course of:
                 that is an "insured contract",
                 provided the "bodily injury" or                                        (a) Employment by the insured; or
                 "property       damage"       occurs
                 subsequent to the execution of the
                 contract or agreement. Solely for the

                     Includes copyrighted material of Insurance Services Office, Inc., with its permission.   PCG 25 10 04 09
                                           Copyright 2009 GuideOne Insurance                                          Page 2 of 23




                                                                                                                              DEF-000058
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 43 of 73 PageID #:
                                    1771




                 (b) Performing duties related to the                                            insured, other than        that
                     conduct     of   the    insured's                                           additional insured; or
                     business; or
                                                                                            (iii) "Bodily injury" or "property
             (2) The spouse, child, parent, brother or                                            damage" arising out of heat,
                 sister of that "employee" as a                                                   smoke or fumes from a
                 consequence of Paragraph (1)                                                     "hostile fire";
                 above.
                                                                                       (b) At or from any premises, site or
             This exclusion applies whether the                                            location which is or was at any
             insured may be liable as an employer or                                       time used by or for any insured
             in any other capacity and to any                                              or others for the handling,
             obligation to share "damages" with or                                         storage, disposal, processing or
             repay someone else who must pay                                               treatment of waste;
             "damages" because of the injury.
                                                                                       (c) Which are or were at any time
             This exclusion does not apply to liability                                    transported, handled, stored,
             assumed by the insured under an                                               treated,    disposed   of,    or
             "insured contract".                                                           processed as waste by or for:

        f.   Pollution                                                                      (i) Any insured; or

             (1) "Bodily injury" or "property damage"                                       (ii) Any person or organization
                 arising out of the actual, alleged or                                           for whom you may be legally
                 threatened     discharge,    dispersal,                                         responsible; or
                 seepage, migration, release or
                 escape of "pollutants":                                               (d) At or from any premises, site or
                                                                                           location on which any insured or
                 (a) At or from any premises, site or                                      any contractors or subcontractors
                     location which is or was at any                                       working directly or indirectly on
                     time owned or occupied by, or                                         any     insured's   behalf    are
                     rented or loaned to, any insured.                                     performing operations if the
                     However, this subparagraph does                                       "pollutants" are brought on or to
                     not apply to:                                                         the premises, site or location in
                                                                                           connection with such operations
                     (i) "Bodily injury" if sustained                                      by such insured, contractor or
                         within a building and caused                                      subcontractor.    However, this
                         by smoke, fumes, vapor or                                         subparagraph does not apply to:
                         soot     produced    by    or
                         originating from equipment                                         (i) "Bodily injury" or "property
                         that is used to heat, cool or                                          damage" arising out of the
                         dehumidify the building, or                                            escape of fuels, lubricants or
                         equipment that is used to                                              other operating fluids which
                         heat water for personal use,                                           are needed to perform the
                         by the building's occupants                                            normal electrical, hydraulic or
                         or their guests;                                                       mechanical             functions
                                                                                                necessary for the operation
                     (ii) "Bodily injury" or "property                                          of "mobile equipment" or its
                          damage" for which you may                                             parts, if such fuels, lubricants
                          be held liable, if you are a                                          or other operating fluids
                          contractor and the owner or                                           escape from a vehicle part
                          lessee of such premises, site                                         designed to hold, store or
                          or location has been added                                            receive them. This exception
                          to your policy as an                                                  does not apply if the "bodily
                          additional     insured    with                                        injury" or "property damage"
                          respect to your ongoing                                               arises out of the intentional
                          operations performed for that                                         discharge,      dispersal     or
                          additional insured at that                                            release     of     the     fuels,
                          premises, site or location and                                        lubricants or other operating
                          such premises, site or                                                fluids, or if such fuels,
                          location is not and never was                                         lubricants or other operating
                          owned or occupied by, or                                              fluids are brought on or to
                          rented or loaned to, any                                              the premises, site or location

                    Includes copyrighted material of Insurance Services Office, Inc., with its permission.   PCG 25 10 04 09
                                          Copyright 2009 GuideOne Insurance                                          Page 3 of 23




                                                                                                                           DEF-000059
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 44 of 73 PageID #:
                                    1772




                        with the intent that they be                                 order or statutory or regulatory
                        discharged, dispersed or                                     requirement, or such claim or "suit"
                        released as part of the                                      by or on behalf of a governmental
                        operations being performed                                   authority.
                        by such insured, contractor
                        or subcontractor;                                 g. Aircraft, Auto Or Watercraft

                  (ii) "Bodily injury" or "property                             "Bodily injury" or "property damage"
                       damage" sustained within a                               arising    out    of   the    ownership,
                       building and caused by the                               maintenance, use or entrustment to
                       release of gases, fumes or                               others of any aircraft, "auto"         or
                       vapors     from     materials                            watercraft owned or operated by or
                       brought into that building in                            rented or loaned to or hired by any
                       connection with operations                               insured. Use includes operation and
                       being performed by you or on                             "loading or unloading". Hired includes
                       your behalf by a contractor or                           any contract to furnish transportation of
                       subcontractor; or                                        pupils to and from school.

                  (iii) "Bodily injury" or "property                            This exclusion applies even if the claims
                        damage" arising out of heat,                            against any insured allege negligence or
                        smoke or fumes from a                                   other wrongdoing in the supervision,
                        "hostile fire".                                         hiring, employment, training or monitoring
                                                                                of others by that insured, if the
              (e) At or from any premises, site or                              "occurrence" which caused the "bodily
                  location on which any insured or                              injury" or "property damage" involved the
                  any contractors or subcontractors                             ownership,      maintenance,    use     or
                  working directly or indirectly on                             entrustment to others of any aircraft,
                  any     insured's    behalf   are                             "auto" or watercraft that is owned or
                  performing operations if the                                  operated by or rented or loaned to any
                  operations are to test for,                                   insured.
                  monitor, clean up, remove,
                  contain,     treat,  detoxify  or                             This exclusion does not apply to:
                  neutralize, or in any way respond
                  to, or assess the effects of,                                 (1) A watercraft while ashore             on
                  "pollutants".                                                     premises you own or rent;

           (2) Any loss, cost or expense arising out                            (2) A watercraft you do not own that is:
               of any:
                                                                                     (a) Any length; and
              (a) Request, demand, order or
                  statutory        or      regulatory                                (b) Not being used to carry persons
                  requirement that any insured or                                        or property for a charge;
                  others test for, monitor, clean up,
                  remove, contain, treat, detoxify or                           (3) Parking an "auto" on, or on the ways
                  neutralize, or in any way respond                                 next to, premises you own or rent,
                  to, or assess the effects of                                      provided the "auto" is not owned by
                  "pollutants"; or                                                  or rented or loaned to you or the
                                                                                    insured;
              (b) Claim or "suit" by or on behalf of
                  a governmental authority for                                  (4) Liability assumed under any "insured
                  "damages" because of testing                                      contract"      for the    ownership,
                  for, monitoring, cleaning up,                                     maintenance or use of aircraft or
                  removing, containing, treating,                                   watercraft; or
                  detoxifying or neutralizing, or in
                  any way responding to, or                                     (5) "Bodily injury" or "property damage"
                  assessing     the   effects    of,                                arising out of:
                  "pollutants".
                                                                                     (a) The operation of machinery or
              However, this paragraph does not                                           equipment that is attached to, or
              apply to liability for "damages"                                           part of, a land vehicle that would
              because of "property damage" that                                          qualify under the definition of
              the insured would have in the                                              "mobile equipment" if it were not
              absence of such request, demand,                                           subject to a compulsory or

                  Includes copyrighted material of Insurance Services Office, Inc., with its permission.   PCG 25 10 04 09
                                        Copyright 2009 GuideOne Insurance                                        Page 4 of 23




                                                                                                                       DEF-000060
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 45 of 73 PageID #:
                                    1773




                     financial responsibility law or                                   arises out of any part of those
                     other motor vehicle insurance law                                 premises;
                     in the state where it is licensed
                     or principally garaged; or                                   (3) Property loaned to you;

                 (b) the operation of any of the                                  (4) Personal property in the care,
                     machinery or equipment listed in                                 custody or control of the insured;
                     Paragraph f.(2) or f.(3) of the
                     definition of "mobile equipment".                            (5) That particular part of real property
                                                                                      on which you or any contractors or
        h. Mobile Equipment                                                           subcontractors working directly or
                                                                                      indirectly on your behalf are
             "Bodily injury"     or "property        damage"                          performing     operations,   if  the
             arising out of:                                                          "property damage" arises out of
                                                                                      those operations; or
             (1) The    transportation of   "mobile
                 equipment" by an "auto" owned or                                 (6) That particular part of any property
                 operated by or rented or loaned to                                   that must be restored, repaired or
                 any insured; or                                                      replaced because "your work" was
                                                                                      incorrectly performed on it.
             (2) The use of "mobile equipment" in, or
                 while in practice for, or while being                            Paragraphs (1), (3) and (4) of this
                 prepared for, any prearranged racing,                            exclusion do not apply to "property
                 speed, demolition, or stunting activity.                         damage" (other than damage by fire,
                                                                                  explosion, smoke or leaks from automatic
        i.   War                                                                  fire protective systems) to premises,
                                                                                  including the contents of such premises,
             "Bodily injury" or "property damage",                                rented to you for a period of 7 or fewer
             however caused, arising, directly or                                 consecutive days. A separate limit of
             indirectly, out of:                                                  insurance applies to Damage To
                                                                                  Premises Rented To You as described in
             (1) War, including undeclared or civil                               Section III -- Limits Of Insurance.
                 war;
                                                                                  Paragraph (2) of this exclusion does not
             (2) Warlike action by a military force,                              apply if the premises are "your work"
                 including action in hindering or                                 and were never occupied, rented or held
                 defending against an actual or                                   for rental by you.
                 expected attack, by any government,
                 sovereign or other authority using                               Paragraphs (3), (4), (5) and (6) of this
                 military personnel or other agents; or                           exclusion do not apply to liability
                                                                                  assumed under a sidetrack agreement.
             (3) Insurrection, rebellion, revolution,
                 usurped power, or action taken by                                Paragraph (6) of this exclusion does not
                 governmental authority in hindering or                           apply to "property damage" included in
                 defending against any of these.                                  the   "products-completed      operations
                                                                                  hazard".
        j.   Damage To Property
                                                                            k. Damage To Your Product
             "Property damage" to:
                                                                                  "Property damage" to "your product"
             (1) Property you own, rent, or occupy,                               arising out of it or any part of it.
                 including any costs or expenses
                 incurred by you, or any other person,                      l.    Damage To Your Work
                 organization or entity, for repair,
                 replacement,           enhancement,                              "Property damage" to "your work"
                 restoration or maintenance of such                               arising out of it or any part of it and
                 property for any reason, including                               included in the "products-completed
                 prevention of injury to a person or                              operations hazard".
                 damage to another's property;
                                                                                  This exclusion does not apply if the
             (2) Premises you sell, give away or                                  damaged work or the work out of which
                 abandon, if the "property damage"                                the damage arises was performed on
                                                                                  your behalf by a subcontractor.

                    Includes copyrighted material of Insurance Services Office, Inc., with its permission.   PCG 25 10 04 09
                                          Copyright 2009 GuideOne Insurance                                        Page 5 of 23




                                                                                                                         DEF-000061
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 46 of 73 PageID #:
                                    1774




        m. Damage To Impaired Property                     Or                   processing devices or any other media
           Property Not Physically Injured                                      which are used with electronically
                                                                                controlled equipment.
           "Property      damage"       to     "impaired
           property" or property that has not been                        q. Distribution Of Material In Violation Of
           physically injured, arising out of:                               Statutes

           (1) A defect, deficiency, inadequacy or                              "Bodily injury" or "property damage"
               dangerous     condition   in  "your                              arising directly or indirectly out of any
               product" or "your work"; or                                      action or omission that violates or is
                                                                                alleged to violate:
           (2) A delay or failure by you or anyone
               acting on your behalf to perform a                               (1) The Telephone Consumer Protection
               contract or agreement in accordance                                  Act     (TCPA),  including   any
               with its terms.                                                      amendment of or addition to such
                                                                                    law; or
           This exclusion does not apply to the loss
           of use of other property arising out of                              (2) The CAN-SPAM Act of 2003,
           sudden and accidental physical injury to                                 including any amendment of or
           "your product" or "your work" after it has                               addition to such law; or
           been put to its intended use.
                                                                                (3) Any statute, ordinance or regulation,
        n. Recall Of Products, Work Or Impaired                                     other than the TCPA or CAN-SPAM
           Property                                                                 Act of 2003, that prohibits or limits
                                                                                    the       sending,       transmitting,
           "Damages" claimed for any loss, cost or                                  communicating or distribution of
           expense incurred by you or others for the                                material or information.
           loss of use, withdrawal, recall, inspection,
           repair, replacement, adjustment, removal                       r.    Additional Exclusions
           or disposal of:
                                                                                "Bodily injury" or "property damage"
           (1) "Your product";                                                  excluded under Additional Exclusions --
                                                                                Coverages A, B and C.
           (2) "Your work"; or
                                                                          Exclusions c. through n. do not apply to
           (3) "Impaired property";                                       damage to premises while rented to you or
                                                                          temporarily occupied by you with permission
           if such product, work, or property is                          of the owner, when such damage is caused
           withdrawn or recalled from the market or                       by fire, explosion, smoke or leaks from
           from use by any person or organization                         automatic fire protective systems. A separate
           because of a known or suspected defect,                        limit of insurance applies to this coverage as
           deficiency, inadequacy or dangerous                            described in Section III -- Limits Of
           condition in it.                                               Insurance.

        o. Personal And Advertising Injury                           COVERAGE      B     PERSONAL                      AND
                                                                     ADVERTISING INJURY LIABILITY
           "Bodily injury" arising out of "personal
           and advertising injury".                                  1. Insuring Agreement

        p. Electronic Data                                                a. We will pay those sums that the insured
                                                                             becomes legally obligated to pay as
           "Damages" arising out of the loss of,                             "damages" because of "personal and
           loss of use of, damage to, corruption of,                         advertising injury" to which this insurance
           inability to access, or inability to                              applies. We will have the right and duty
           manipulate electronic data.                                       to defend the insured against any "suit"
                                                                             seeking those "damages". However, we
           As used in this exclusion, electronic data                        will have no duty to defend the insured
           means information, facts or programs                              against any "suit" seeking "damages" for
           stored as or on, created or used on, or                           "personal and advertising injury" to which
           transmitted to or from computer software,                         this insurance does not apply. We may,
           including systems and applications                                at our discretion, investigate any offense
           software, hard or floppy disks, CD-                               and settle any claim or "suit" that may
           ROMS, tapes, drives, cells, data                                  result. But:

                  Includes copyrighted material of Insurance Services Office, Inc., with its permission.   PCG 25 10 04 09
                                        Copyright 2009 GuideOne Insurance                                        Page 6 of 23




                                                                                                                       DEF-000062
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 47 of 73 PageID #:
                                    1775




           (1) The amount we will pay for                                          does not apply to liability for "damages"
               "damages" is limited as described in                                that the insured would have in the
               Section III -- Limits Of Insurance; and                             absence of the contract or agreement.

           (2) Our right and duty to defend end                              f.    Breach Of Contract
               when we have used up the applicable
               limit of insurance in the payment of                                "Personal and advertising injury" arising
               judgments or settlements under                                      out of a breach of contract, except an
               Coverages A or B or medical                                         implied contract to use another's
               expenses under Coverage C.                                          advertising idea in your "advertisement".

           No other obligation or liability to pay                           g. Quality Or Performance Of Goods --
           sums or perform acts or services is                                  Failure To Conform To Statements
           covered unless explicitly provided for
           under Supplementary Payments --                                         "Personal and advertising injury" arising
           Coverages A and B.                                                      out of the failure of goods, products or
                                                                                   services to conform with any statement
        b. This insurance applies to "personal and                                 of quality or performance made in your
           advertising injury" caused by an offense                                "advertisement".
           arising out of your business but only if
           the offense was committed in the                                  h. Wrong Description Of Prices
           "coverage territory" during the policy
           period.                                                                 "Personal and advertising injury" arising
                                                                                   out of the wrong description of the price
     2. Exclusions                                                                 of goods, products or services stated in
                                                                                   your "advertisement".
        This insurance does not apply to:
                                                                             i.    Infringement Of Copyright,          Patent,
        a. Knowing Violation Of Rights Of Another                                  Trademark Or Trade Secret

           "Personal and advertising injury" caused                                "Personal and advertising injury" arising
           by or at the direction of the insured with                              out of the infringement of copyright,
           the knowledge that the act would violate                                patent, trademark, trade secret or other
           the rights of another and would inflict                                 intellectual property rights. Under this
           "personal and advertising injury".                                      exclusion, such other intellectual property
                                                                                   rights do not include the use of another's
        b. Material Published With Knowledge Of                                    advertising idea in your "advertisement".
           Falsity
                                                                                   However, this exclusion does not apply to
           "Personal and advertising injury" arising                               infringement, in your "advertisement", of
           out of oral or written publication of                                   copyright, trade dress or slogan.
           material, if done by or at the direction of
           the insured with knowledge of its falsity.                        j.    Insureds In Media And Internet Type
                                                                                   Businesses
        c. Material      Published       Prior     To    Policy
           Period                                                                  "Personal   and    advertising  injury"
                                                                                   committed by an insured whose business
           "Personal and advertising injury" arising                               is:
           out of oral or written publication of
           material whose first publication took place                             (1) Advertising, broadcasting, publishing
           before the beginning of the policy period.                                  or telecasting;

        d. Criminal Acts                                                           (2) Designing or determining content of
                                                                                       websites for others; or
           "Personal and advertising injury" arising
           out of a criminal act committed by or at                                (3) An Internet search, access, content
           the direction of the insured.                                               or service provider.

        e. Contractual Liability                                                   However, this exclusion does not apply to
                                                                                   Paragraphs a., b. and c. of "personal
           "Personal and advertising injury" for                                   and advertising injury"      under the
           which the insured has assumed liability in                              Definition Section.
           a contract or agreement. This exclusion

                     Includes copyrighted material of Insurance Services Office, Inc., with its permission.   PCG 25 10 04 09
                                           Copyright 2009 GuideOne Insurance                                        Page 7 of 23




                                                                                                                          DEF-000063
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 48 of 73 PageID #:
                                    1776




             For the purposes of this exclusion, the                              (1) War, including undeclared or civil
             placing of frames, borders or links, or                                  war;
             advertising, for you or others anywhere
             on the Internet, is not by itself,                                   (2) Warlike action by a military force,
             considered the business of advertising,                                  including action in hindering or
             broadcasting, publishing or telecasting.                                 defending against an actual or
             This exclusion does not apply to                                         expected attack, by any government,
             publishing, broadcasting or telecasting                                  sovereign or other authority using
             that is incidental to your business.                                     military personnel or other agents; or

        k. Electronic       Chatrooms          Or      Bulletin                   (3) Insurrection, rebellion, revolution,
           Boards                                                                     usurped power, or action taken by
                                                                                      governmental authority in hindering or
             "Personal and advertising injury" arising                                defending against any of these.
             out of an electronic chatroom, blog or
             bulletin board the insured hosts, owns, or                     p. Distribution Of Material In Violation Of
             over which the insured exercises control.                         Statutes

        l.   Unauthorized Use Of Another's Name                                   "Personal and advertising injury" arising
             Or Product                                                           directly or indirectly out of any action or
                                                                                  omission that violates or is alleged to
             "Personal and advertising injury" arising                            violate:
             out of the unauthorized use of another's
             name or product in your e-mail address,                              (1) The Telephone Consumer Protection
             domain name or metatag, or any other                                     Act     (TCPA),  including   any
             similar tactics to mislead another's                                     amendment of or addition to such
             potential customers.                                                     law; or

        m. Pollution                                                              (2) The CAN-SPAM Act of 2003,
                                                                                      including any amendment of or
             "Personal and advertising injury" arising                                addition to such law; or
             out of the actual, alleged or threatened
             discharge, dispersal, seepage, migration,                            (3) Any statute, ordinance or regulation,
             release or escape of "pollutants" at any                                 other than the TCPA or CAN-SPAM
             time.                                                                    Act of 2003, that prohibits or limits
                                                                                      the       sending,       transmitting,
        n. Pollution-Related                                                          communicating or distribution of
                                                                                      material or information.
             Any loss, cost or expense arising out of
             any:                                                           q. Workers' Compensation And Similar
                                                                               Laws
             (1) Request, demand, order or statutory
                 or regulatory requirement that any                               "Personal and advertising injury" arising
                 insured or others test for, monitor,                             out of any obligation of the insured under
                 clean up, remove, contain, treat,                                a workers' compensation, disability
                 detoxify or neutralize, or in any way                            benefits or unemployment compensation
                 respond to, or assess the effects of,                            law or any similar law.
                 "pollutants"; or
                                                                            r.    Employer's Liability
             (2) Claim or "suit" by or on behalf of a
                 governmental          authority   for                            "Personal and advertising injury" to:
                 "damages" because of testing for,
                 monitoring, cleaning up, removing,                               (1) An "employee" of the insured arising
                 containing, treating, detoxifying or                                 out of and in the course of:
                 neutralizing,     or   in    any way
                 responding to, or assessing the                                       (a) Employment by the insured; or
                 effects of, "pollutants".
                                                                                       (b) Performing duties related to the
        o. War                                                                             conduct     of   the    insured's
                                                                                           business; or
             "Personal      and  advertising injury",
             however caused, arising, directly or                                 (2) The spouse, child, parent, brother or
             indirectly, out of:                                                      sister of that "employee" as a

                    Includes copyrighted material of Insurance Services Office, Inc., with its permission.   PCG 25 10 04 09
                                          Copyright 2009 GuideOne Insurance                                        Page 8 of 23




                                                                                                                          DEF-000064
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 49 of 73 PageID #:
                                    1777




                 consequence         of    Paragraph         (1)                  (3) Necessary          ambulance, hospital,
                 above.                                                               professional       nursing and funeral
                                                                                      services.
             This exclusion applies whether the
             insured may be liable as an employer or                        c. When the "bodily injury" is caused by an
             in any other capacity and to any                                  accident that results from practicing,
             obligation to share "damages" with or                             instructing or participating in any physical
             repay someone else who must pay                                   exercises or games, sports or athletic
             "damages" because of the injury.                                  contests, whether on a formal or informal
                                                                               basis, we will pay medical expenses on
             This exclusion does not apply to liability                        an excess payment basis.                Our
             assumed by the insured under an                                   obligations for payment under excess
             "insured contract".                                               insurance are explained in Paragraph
                                                                               4.b.(1)(c) Other Insurance under Section
        s.   Additional Exclusions                                             IV -- Commercial General Liability
                                                                               Conditions.
             "Personal   and    advertising   injury"
             excluded under Additional Exclusions --                        d. When a covered "bodily injury" to a
             Coverages A, B and C.                                             claimant results in loss of life within one
                                                                               year from the date of the accident, at
     COVERAGE C MEDICAL PAYMENTS                                               your option, we will pay up to $10,000
                                                                               per person. We will pay this amount in
     1. Insuring Agreement                                                     addition to     any payments under
                                                                               Paragraphs a., b. and c. of this Insuring
        a. We will pay medical expenses as                                     Agreement.
           described below for "bodily injury"
           caused by an accident:                                                 Our obligation for payment shall be to:

             (1) On premises you own or rent;                                     (1) The parent or guardian            if    the
                                                                                      deceased was a minor;
             (2) On ways next to premises you own
                 or rent; or                                                      (2) The surviving spouse, if any; or

             (3) Because of your operations;                                      (3) A person authorized by law, or legally
                                                                                      entitled, to receive such payment.
             provided that:
                                                                       2. Exclusions
                 (a) The accident takes place in the
                     "coverage territory" and during                        We will not pay expenses for "bodily injury":
                     the policy period;
                                                                            a. Any Insured
                 (b) The expenses are incurred and
                     reported to us within one year of                            To any insured, except "volunteer
                     the date of the accident; and                                workers" and any persons designated as
                                                                                  an insured under Paragraph 4. of Section
                 (c) The injured person submits to                                II -- Who Is An Insured.
                     examination, at our expense, by
                     physicians of our choice as often                      b. Hired Person
                     as we reasonably require.
                                                                                  To a person hired to do work for or on
        b. We will make these payments regardless                                 behalf of any insured or a tenant of any
           of fault. These payments will not exceed                               insured.
           the applicable limit of insurance. We will
           pay reasonable expenses for:                                     c. Injury On Normally Occupied Premises

             (1) First aid administered at the time of                            To a person injured on that part of
                 an accident;                                                     premises you own or rent that the person
                                                                                  normally   occupies.     However,     this
             (2) Necessary medical, surgical, x-ray                               exclusion does not apply to a person
                 and    dental    services, including                             injured while engaged in a church
                 prosthetic devices; and                                          sponsored activity authorized by you.




                    Includes copyrighted material of Insurance Services Office, Inc., with its permission.    PCG 25 10 04 09
                                          Copyright 2009 GuideOne Insurance                                         Page 9 of 23




                                                                                                                             DEF-000065
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 50 of 73 PageID #:
                                    1778




         d. Workers      Compensation           And     Similar         3. Counseling Activities
            Laws
                                                                             Any "bodily injury", "property damage",
              To a person, whether or not an                                 "personal and advertising injury" or mental or
              "employee" of any insured, if benefits for                     emotional pain or anguish, sustained by any
              the "bodily injury" are payable or must                        person arising out of, or resulting from:
              be     provided    under    a    workers'
              compensation or disability benefits law or
                                                                              a. Professional activities conducted by a
              a similar law.
                                                                                 psychiatrist or psychologist;
         e. Products-Completed Operations Hazard
                                                                              b. Professional activities conducted by a
              Included within the "products-completed                            licensed mental health care practitioner
              operations hazard".                                                or licensed counseling practitioner.
                                                                                 However, if your "minister" is a licensed
         f.   Coverage A Exclusions                                              mental health care practitioner or
                                                                                 licensed counseling practitioner, this
              Excluded under Coverage A.                                         exclusion does not apply to such
                                                                                 professional activities that attend to the
         g. Students
                                                                                 spiritual needs of a person if conducted
                                                                                 for you or on your behalf; or
              To any student, with respect to the
              operation of any college or school
              (except Sunday school) by you or on                             c. Counseling or guidance of a person in
              your behalf.                                                       exchange for a payment or fee.

         h. Day Nursery                                                 4. Professional Board

              To any person being cared for at any                           Acts, errors or omissions by any insured as a
              Day Nursery owned and operated by you                          member of a formal accreditation or similar
              or on your behalf (except Day Nurseries                        professional board of directors, of any
              for the care of children while their parents                   educational, medical, professional or religious
              are attending church activities including                      institution.
              parent day out or equivalent programs
              which are conducted for one day or less                   5. Violation Of Any Statute Or Regulation
              per week).
                                                                             Any liability arising out of the willful or
         i.   Additional Exclusions                                          intentional violation of any statute or
                                                                             regulation including but not limited to the
              Excluded under Additional Exclusions --                        fines and penalties assessed by a court or
              Coverages A, B and C.                                          regulatory authority.

     ADDITIONAL EXCLUSIONS -- COVERAGES A,                              6. Misconduct, Molestation Or Harassment
     B AND C
                                                                             Any "bodily injury", "personal and advertising
     This insurance does not apply to:                                       injury", mental or emotional pain or anguish,
                                                                             or any defamation or slander, sustained by
     1. Employment Related Practices                                         any person arising out of or resulting from
                                                                             any actual or alleged act of "sexual
         Any liability arising out of any "employment                        misconduct or sexual molestation" or "sexual
         related practices".                                                 harassment" of any kind. We have no right
                                                                             or duty to investigate, settle, defend or pay
     2. Hospital Liability                                                   any claim or "suit" asserting any act of
                                                                             "sexual misconduct or sexual molestation",
         Acts, errors or omissions by any insured as                         "sexual harassment" or any breach of duty
         proprietor, superintendent, or "executive                           contributing to or arising from such act.
         officer" of any hospital, sanitarium, medical
         clinic with bed and board facilities, laboratory,              7. Health Services
         or to acts or omissions arising out of any
         other similar medical trade, business,                              "Bodily injury", "property damage" or
         employment or profession.                                           "personal and advertising injury" caused by:

                                                                             a. The rendering or failure to render:

                     Includes copyrighted material of Insurance Services Office, Inc., with its permission.   PCG 25 10 04 09
                                           Copyright 2009 GuideOne Insurance                                       Page 10 of 23




                                                                                                                          DEF-000066
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 51 of 73 PageID #:
                                    1779




             (1) Medical, surgical, dental, x-ray or                        d. All reasonable expenses incurred by the
                 nursing service, treatment, advice or                         insured at our request to assist us in the
                 instruction or the related furnishing of                      investigation or defense of the claim or
                 food or beverages;                                            "suit", including actual loss of earnings
                                                                               up to $500 a day because of time off
             (2) Any health or therapeutic service,                            from work.
                 treatment, advice or instruction; or
                                                                            e. All court costs taxed against the insured
             (3) Any service, treatment, advice or                             in the "suit". However, these payments
                 instruction for the purpose of                                do not include plaintiff attorneys' fees or
                 appearance or skin enhancement,                               plaintiff attorneys' expenses taxed against
                 hair removal or replacement or                                the insured.
                 personal grooming;
                                                                            f.    Prejudgment interest awarded against the
         b. The furnishing or dispensing of drugs or                              insured on that part of the judgment we
            medical, dental or surgical supplies or                               pay. If we make an offer to pay the
            appliances; or                                                        applicable limit of insurance, we will not
                                                                                  pay any prejudgment interest based on
         c. The handling or treatment of dead                                     that period of time after the offer.
            bodies,   including autopsies, organ
            donation or other procedures;                                   g. All interest on the full amount of any
                                                                               judgment that accrues after entry of the
         if any college or school is operated by you or                        judgment and before we have paid,
         on your behalf, and that college or school                            offered to pay, or deposited in court the
         owns or operates an infirmary with facilities                         part of the judgment that is within the
         for lodging and treatment or a public clinic or                       applicable limit of insurance.
         hospital.
                                                                            h. Up to $1,000 for "property damage" to
         This exclusion applies to persons whose                               personal property of others while in the
         professions involve the activities described in                       temporary care, custody or control of an
         Paragraphs a., b. and c. above. However,                              insured and caused by any person
         this exclusion does not apply to your school                          participating in your organized activities.
         nurse while acting within the scope of their                          For purposes of this supplementary
         duties as directed by you.                                            payment, "property damage" does not
                                                                               include       disappearance,     wrongful
     8. Corporal Punishment                                                    abstraction or loss of use. This
                                                                               supplementary payment shall only be
         "Bodily injury", "property damage" or                                 paid on or for the account of the owner
         "personal and advertising injury" to any                              and only when other coverage or
         student arising out of any corporal                                   insurance is unavailable.
         punishment administered by or at the
         direction of any insured.                                          These payments will not reduce the limits of
                                                                            insurance.
     SUPPLEMENTARY                  PAYMENTS                  --
     COVERAGES A AND B                                                 2. If we defend an insured against a "suit" and
                                                                          an indemnitee of the insured is also named
     1. We will pay, with respect to any claim we                         as a party to the "suit", we will defend that
        investigate or settle, or any "suit" against an                   indemnitee if all of the following conditions
        insured we defend:                                                are met:

         a. All expenses we incur.                                          a. The "suit" against the indemnitee seeks
                                                                               "damages" for which the insured has
         b. Up to $1,000 for cost of bail bonds                                assumed the liability of the indemnitee in
            required because of accidents or traffic                           a contract or agreement that is an
            law violations arising out of the use of                           "insured contract";
            any vehicle to which the Bodily Injury
            Liability Coverage applies. We do not                           b. This insurance applies to such liability
            have to furnish these bonds.                                       assumed by the insured;

         c. The    cost   of   bonds to       release                       c. The obligation to defend, or the cost of
            attachments, but only for bond amounts                             the defense of, that indemnitee, has also
            within the applicable limit of insurance.                          been assumed by the insured in the
            We do not have to furnish these bonds.                             same "insured contract";

                    Includes copyrighted material of Insurance Services Office, Inc., with its permission.   PCG 25 10 04 09
                                          Copyright 2009 GuideOne Insurance                                       Page 11 of 23




                                                                                                                         DEF-000067
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 52 of 73 PageID #:
                                    1780




        d. The allegations in the "suit" and the                            necessary      litigation   expenses        as
           information   we    know    about     the                        Supplementary Payments ends when we
           "occurrence" are such that no conflict                           have used up the applicable limit of insurance
           appears to exist between the interests of                        in the payment of judgments or settlements
           the insured and the interests of the                             or the conditions set forth above, or the
           indemnitee;                                                      terms of the agreement described in
                                                                            Paragraph f. above, are no longer met.
        e. The indemnitee and the insured ask us to
           conduct and control the defense of that                     ADDITIONAL SUPPLEMENTARY PAYMENTS
           indemnitee against such "suit" and agree
           that we can assign the same counsel to                      Product Recall Expenses
           defend the insured and the indemnitee;
           and                                                         We will reimburse you for "product recall
                                                                       expenses" that you incur because of a "product
        f.   The indemnitee:
                                                                       recall" of "your product". The most we will pay
             (1) Agrees in writing to:                                 for all "product recall expenses" initiated during
                                                                       the policy period is $25,000. The policy period
                 (a) Cooperate with us in                   the        under which "product recall expenses" will be
                     investigation,   settlement             or        paid shall be determined by the policy that is in
                     defense of the "suit";                            effect when the "product recall" was first
                                                                       initiated.
                 (b) Immediately send us copies of
                     any      demands,      notices,                   A complete accounting of "product recall
                     summonses or legal papers                         expenses" must be provided upon our request,
                     received in connection with the                   including receipts for all expenses that you incur.
                     "suit";                                           We will reimburse "product recall expenses" only
                                                                       if the expenses are incurred and reported to us
                 (c) Notify any other insurer whose
                     coverage is available to the                      within one year of the date the "product recall"
                     indemnitee; and                                   was initiated.

                 (d) Cooperate with us with respect to                 Our     obligation   under    this    Additional
                     coordinating other applicable                     Supplementary Payment shall only apply if the
                     insurance    available to    the                  "product recall expenses" are initiated in the
                     indemnitee; and                                   "coverage territory" during the policy period
                                                                       because:
             (2) Provides us with written authorization
                 to:                                                   1. You determine that the "product recall" is
                                                                          necessary; or
                 (a) Obtain    records     and   other
                     information related to the "suit";
                     and                                               2. An authorized government entity has ordered
                                                                          you to conduct a "product recall".
                 (b) Conduct and control the defense
                     of the indemnitee in such "suit".                 However, this Additional Supplementary Payment
                                                                       does not apply to "product recall expenses"
        So long as the above conditions are met,                       arising out of the product expiration or shelf life, a
        attorneys' fees incurred by us in the defense                  defect known by you prior to the time "your
        of that indemnitee, necessary litigation                       product" leaves your control or possession, or
        expenses incurred by us and necessary                          the defense of a claim or "suit" against you for
        litigation expenses incurred by the indemnitee
                                                                       liability arising out of a "product recall".
        at our request will be paid as Supplementary
        Payments. Notwithstanding the provisions of
        Paragraph 2.b.(2) of Section I -- Coverage A                   SECTION II -- WHO IS AN INSURED
        -- Bodily Injury And Property Damage
        Liability, such payments will not be deemed                    1. If you are designated in the Declarations as:
        to be "damages" for "bodily injury" and
        "property damage" and will not reduce the                           a. An individual, you and your spouse are
        limits of insurance.                                                   insureds, but only with respect to the
                                                                               conduct of a business of which you are
        Our obligation to defend an insured's                                  the sole owner.
        indemnitee and to pay for attorneys' fees and

                    Includes copyrighted material of Insurance Services Office, Inc., with its permission.   PCG 25 10 04 09
                                          Copyright 2009 GuideOne Insurance                                       Page 12 of 23




                                                                                                                         DEF-000068
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 53 of 73 PageID #:
                                    1781




         b. A partnership or joint venture, you are an                                      worker" as a consequence of
            insured. Your members, your partners,                                           Paragraph (1)(a) above;
            and their spouses are also insureds, but
            only with respect to the conduct of your                                   (c) For which there is any obligation
            business.                                                                      to share "damages" with or
                                                                                           repay someone else who must
         c. A limited liability company, you are an                                        pay "damages" because of the
            insured. Your members are also                                                 injury described in Paragraphs
            insureds, but only with respect to the                                         (1)(a) or (b) above.
            conduct of your business. Your managers
            are insureds, but only with respect to                                (2) "Property damage" to property:
            their duties as your managers.
                                                                                       (a) Owned, occupied or used by,
         d. An organization other than a partnership,
            joint venture or limited liability company,                                (b) Rented to, in the care, custody or
            you are an insured. Your "executive                                            control of, or over which physical
            officers" and directors are insureds, but                                      control is being exercised for any
            only with respect to their duties as your                                      purpose by
            officers or directors. Your stockholders
            are also insureds, but only with respect                                   you, any of your "employees",
            to their liability as stockholders.                                        "volunteer workers", any partner or
                                                                                       member (if you are a partnership or
         e. A trust, you are an insured.         Your                                  joint venture), or any member (if you
            trustees are also insureds, but only with                                  are a limited liability company).
            respect to their duties as trustees.
                                                                            b. Any person (other than your "employee"
     2. Each of the following is also an insured:                              or    "volunteer   worker"),  or   any
                                                                               organization while acting as your real
         a. Your "volunteer workers" only while                                estate manager.
            performing duties related to the conduct
            of your business, or your "employees",                          c. Any person or organization having proper
            other than either your "executive                                  temporary custody of your property if you
            officers" (if you are an organization other                        die, but only:
            than a partnership, joint venture or limited
            liability company) or your managers (if                               (1) With respect to liability arising out of
            you are a limited liability company), but                                 the maintenance or use of that
            only for acts within the scope of their                                   property; and
            employment by you or while performing
            duties related to the conduct of your                                 (2) Until your legal representative has
            business. However, none of these                                          been appointed.
            "employees" or "volunteer workers" are
            insureds for:                                                   d. All      hierarchical   governing    bodies
                                                                               concerned with the adoption and
             (1) "Bodily injury" or         "personal       and                enforcement of needful laws and
                 advertising injury":                                          regulations, doctrine and worship for the
                                                                               established denomination of which you
                 (a) To you, to your partners or                               are a member, but only with respect to
                     members         (if  you    are    a                      liability arising out of the ownership,
                     partnership or joint venture), to                         maintenance and use of the property by
                     your members (if you are a                                you at the locations designated in the
                     limited liability company), to a co-                      Commercial General Liability Coverage
                     "employee" while in the course                            Part       Declarations   and     operations
                     of his or her employment or                               necessary and incidental thereto. But we
                     performing duties related to the                          shall not be liable under this policy to
                     conduct of your business, or to                           make payment to any such hierarchical
                     your other "volunteer workers"                            body for loss in connection with any
                     while performing duties related to                        claim which is insured by another policy,
                     the conduct of your business;                             except any amounts excess of all valid
                                                                               and collectible payments under such
                 (b) To the spouse, child, parent,                             other policies.
                     brother or sister of that co-
                     "employee"     or   "volunteer                    3. Any organization you newly acquire or form,
                                                                          other than a partnership, joint venture or

                    Includes copyrighted material of Insurance Services Office, Inc., with its permission.   PCG 25 10 04 09
                                          Copyright 2009 GuideOne Insurance                                       Page 13 of 23




                                                                                                                         DEF-000069
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 54 of 73 PageID #:
                                    1782




        limited liability company, and over which you                       an endorsement issued by us and made a
        maintain ownership or majority interest, will                       part of this Coverage Form.
        qualify as a Named Insured if there is no
        other similar insurance available to that                           a. Any person or organization from whom
        organization. However:                                                 you lease land but only with respect to
                                                                               liability arising out of the ownership,
        a. Coverage under this provision is afforded
                                                                               maintenance or use of that part of the
           only when the newly acquired or formed
           organization operates or conducts the                               land leased to you.
           same or similar business as you;
                                                                                  With respect to the insurance afforded to
        b. Coverage under this provision is afforded                              these additional insureds, this insurance
           only until the 365th day after you acquire                             does not apply to:
           or form the organization or the end of the
           policy period, whichever is earlier;                                   (1) Any "occurrence" which takes place
                                                                                      after you cease to lease that land; or
        c. Coverage A does not apply to "bodily
           injury" or "property damage" that                                      (2) Structural       alterations,    new
           occurred before you acquired or formed
                                                                                      construction or demolition operations
           the organization; and
                                                                                      performed by or on behalf of the
        d. Coverage B does not apply to "personal                                     additional insured.
           and advertising injury" arising out of an
           offense committed before you acquired                            b. Any state or political subdivision, but only
           or formed the organization.                                         with respect to operations performed by
                                                                               you or on your behalf for which the state
     4. The following persons or organizations are                             or political subdivision has issued a
        also insureds:                                                         permit.

        a. Any of your members, but only with                                     With respect to the insurance afforded
           respect to their liability for your activities                         these additional insureds, this insurance
           or activities they perform on your behalf,
                                                                                  does not apply to:
           at your direction and within the scope of
           their duties.
                                                                                  (1) "Bodily injury", "property damage" or
        b. Any trustee or official; member of any                                     "personal and advertising injury"
           board, council, deaconry, or vestry;                                       arising out of operations performed
           "minister", Sunday school superintendent                                   for the state or municipality; or
           and any Sunday school teachers; or any
           student teachers teaching as part of their                             (2) "Bodily Injury" or "property damage"
           educational requirements; but only with                                    included    within the      "products-
           respect to their duties as such.                                           completed operations hazard".

        c. Any church organization authorized and                           c. Any person or organization but only with
           controlled by you.                                                  respect to their liability as mortgagee,
                                                                               assignee, or receiver and arising out of
     5. The following person(s) or organization(s) are                         the ownership, maintenance, or use of
        an additional insured when you have agreed,                            the premises by you.
        in a written contract, that such person or
        organization be added as an additional                                    The insurance does not apply to
        insured on your policy, provided the written                              structural alterations, new construction
        contract is initiated prior to an "occurrence"                            and demolition operations performed by
        resulting in "damages".                                                   or for that person or organization.

        A person or organization is an additional                           d. Any person or organization but only with
        insured under this provision only for that                             respect to their liability as co-owner of
        period of time required by the written                                 the premises.
        contract.
                                                                       6. The following is not an insured:
        However, no such person or organization is
                                                                            a. Any person or organization with respect
        an insured under this provision if such person
                                                                               to the conduct of any current or past
        or organization is included as an insured by
                                                                               partnership, joint venture, limited liability

                    Includes copyrighted material of Insurance Services Office, Inc., with its permission.   PCG 25 10 04 09
                                          Copyright 2009 GuideOne Insurance                                       Page 14 of 23




                                                                                                                         DEF-000070
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 55 of 73 PageID #:
                                    1783




            company, that is not shown as a Named                          because of all "bodily injury" and "property
            Insured in the Declarations.                                   damage"     arising   out    of   any   one
                                                                           "occurrence".
        b. Any person who is a professional health
           care services provider with respect to his                 6. Subject to Paragraph 5. above, the Damage
           or her rendering or failure to render                         To Premises Rented To You Limit is the
           professional health care services, except                     most we will pay under Coverage A for
           your school nurses (other than nurse                          "damages" because of "property damage" to
           practitioners) and student nurses while                       any one premises, while rented to you, or in
           acting within the scope of their duties as                    the case of damage by fire, explosion, smoke
           directed by you.                                              or leaks from automatic fire protective
                                                                         systems, while rented to you or temporarily
     SECTION III -- LIMITS OF INSURANCE                                  occupied by you with permission of the
                                                                         owner.
     1. The Limits of Insurance shown in the
        Declarations and the rules below fix the most                 7. Subject to Paragraph 5. above, the Medical
        we will pay regardless of the number of:                         Expense Limit is the most we will pay under
                                                                         Coverage C for all medical expenses
        a. Insureds;                                                     because of "bodily injury" sustained by any
                                                                         one person.
        b. Claims made or "suits" brought;
                                                                      8. When two or more coverages or policies are
        c. Persons or organizations making claims                        issued by us:
           or bringing "suits"; or
                                                                           a. If the liability coverage provided by the
        d. Policies involved.                                                 Commercial General Liability Coverage
                                                                              Part of this policy, and any endorsement
     2. The General Aggregate Limit is the most we                            or other Coverage Part of this policy,
        will pay for the sum of:                                              provides liability coverage for the same
                                                                              "occurrence" or offense, the maximum
        a. Medical expenses under Coverage C;                                 liability under all coverages shall not
                                                                              exceed the limits of liability as provided
        b. "Damages" under Coverage A, except                                 by the Commercial General Liability
           "damages" because of "bodily injury" or                            Coverage Part of this policy.
           "property damage" included in the
           "products-completed operations hazard";                         b. If this policy and any other policy issued
           and                                                                to you by us or any Company affiliated
                                                                              with us apply to the same "occurrence"
        c. "Damages" under Coverage B.                                        or offense, the maximum liability under all
                                                                              such policies shall not exceed the highest
     3. The      Products-Completed        Operations                         applicable limit of liability under any one
        Aggregate Limit is the most we will pay under                         policy.
        Coverage A for "damages" because of
        "bodily injury" and "property damage"                              But conditions a. and b. above do not apply
        included    in    the   "products-completed                        to any policy issued by us or any affiliate
        operations hazard".                                                company specifically to apply as excess
                                                                           insurance over this policy.
     4. Subject to Paragraph 2. above, the Personal
        and Advertising Injury Limit is the most we                   The Limits of Insurance of this Coverage Form
        will pay under Coverage B for the sum of all                  apply separately to each consecutive annual
        "damages" because of all "personal and                        period and to any remaining period of less than
        advertising injury" sustained by any one                      12 months, starting with the beginning of the
        person or organization.                                       policy period shown in the Declarations, unless
                                                                      the policy period is extended after issuance for
     5. Subject to Paragraph 2. or 3. above,                          an additional period of less than 12 months. In
        whichever applies, the Each Occurrence                        that case, the additional period will be deemed
        Limit is the most we will pay for the sum of:                 part of the last preceding period for purposes of
                                                                      determining the Limits of Insurance.
        a. "Damages" under Coverage A; and

        b. Medical expenses under Coverage C




                   Includes copyrighted material of Insurance Services Office, Inc., with its permission.   PCG 25 10 04 09
                                         Copyright 2009 GuideOne Insurance                                       Page 15 of 23




                                                                                                                        DEF-000071
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 56 of 73 PageID #:
                                    1784




     SECTION IV -- COMMERCIAL                    GENERAL                   d. No insured will, except at that insured's
     LIABILITY CONDITIONS                                                     own cost, voluntarily make a payment,
                                                                              assume any obligation, or incur any
     1. Bankruptcy                                                            expense, other than for first aid, without
                                                                              our consent.
        Bankruptcy or insolvency of the insured or of
        the insured's estate will not relieve us of our               3. Legal Action Against Us
        obligations under this Coverage Form.
                                                                           No person or organization has a right under
     2. Duties In The Event             Of     Occurrence,                 this Coverage Form and all endorsed
        Offense, Claim Or Suit                                             coverages:

        a. You must see to it that we are notified as                      a. To join us as a party or otherwise bring
           soon as practicable of an "occurrence"                             us into a "suit" asking for "damages"
           or an offense which may result in a                                from an insured; or
           claim. To the extent possible, notice
           should include:                                                 b. To sue us on this Coverage Form and all
                                                                              endorsed coverages unless all of its
            (1) How,    when     and    where    the                          terms have been fully complied with.
                "occurrence" or offense took place;
                                                                           A person or organization may sue us to
            (2) The names and addresses of any                             recover on an agreed settlement or on a final
                injured persons and witnesses; and                         judgment against an insured; but we will not
                                                                           be liable for "damages" that are not payable
            (3) The nature and location of any injury                      under the terms of this Coverage Form and
                or damage arising out of the                               all endorsed coverages or that are in excess
                "occurrence" or offense.                                   of the applicable limit of insurance. An agreed
                                                                           settlement means a settlement and release of
        b. If a claim is made or "suit" is brought                         liability signed by us, the insured and the
           against any insured, you must:                                  claimant      or     the     claimant's    legal
                                                                           representative.
            (1) Immediately record the specifics of
                the claim or "suit" and the date                      4. Other Insurance
                received; and
                                                                           If other valid and collectible insurance is
            (2) Notify us as soon as practicable.                          available to the insured for a loss we cover
                                                                           under any of the coverages provided within
            You must see to it that we receive written                     this Coverage Form, our obligations are
            notice of the claim or "suit" as soon as                       limited as follows:
            practicable.
                                                                           a. Primary Insurance
        c. You and any other involved insured must:
                                                                                 This insurance is primary except when
            (1) Immediately send us copies of any                                Paragraph b. below applies. If this
                demands, notices, summonses or                                   insurance is primary, our obligations are
                legal papers received in connection                              not affected unless any of the other
                with the claim or "suit";                                        insurance is also primary. Then, we will
                                                                                 share with all that other insurance by the
            (2) Authorize us to obtain records and                               method described in Paragraph c. below.
                other information;
                                                                           b. Excess Insurance
            (3) Cooperate with us in the investigation
                or settlement of the claim or defense                            (1) This insurance is excess over:
                against the "suit"; and
                                                                                      (a) Any of the other insurance,
            (4) Assist us, upon our request, in the                                       whether      primary,     excess,
                enforcement of any right against any                                      contingent or on any other basis:
                person or organization which may be
                liable to the insured because of injury                                    (i) That is      Fire, Extended
                or damage to which this insurance                                              Coverage, Builder's Risk,
                may also apply.                                                                Installation Risk or similar
                                                                                               coverage for "your work";



                   Includes copyrighted material of Insurance Services Office, Inc., with its permission.   PCG 25 10 04 09
                                         Copyright 2009 GuideOne Insurance                                       Page 16 of 23




                                                                                                                        DEF-000072
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 57 of 73 PageID #:
                                    1785




                  (ii) That is Fire insurance for                                    not described in this Excess
                       premises rented to you or                                     Insurance provision and was not
                       temporarily occupied by you                                   bought specifically to apply in excess
                       with permission of the owner;                                 of the Limits of Insurance shown in
                                                                                     the Declarations of this Coverage
                  (iii) That is insurance purchased                                  Part.
                        by you to cover your liability
                        as a tenant for "property                         c. Method Of Sharing
                        damage" to premises rented
                        to   you     or    temporarily                          If all of the other insurance permits
                        occupied    by    you    with                           contribution by equal shares, we will
                        permission of the owner; or                             follow this method also. Under this
                                                                                approach each insurer contributes equal
                  (iv) If the loss arises out of the                            amounts until it has paid its applicable
                       maintenance or use of                                    limit of insurance or none of the loss
                       aircraft, "autos" or watercraft                          remains, whichever comes first.
                       to the extent not subject to
                       Exclusion g. of Section I --                             If any of the other insurance does not
                       Coverage A -- Bodily Injury                              permit contribution by equal shares, we
                       And        Property   Damage                             will contribute by limits. Under this
                       Liability.                                               method, each insurer's share is based on
                                                                                the ratio of its applicable limit of
              (b) Any other primary insurance                                   insurance to the total applicable limits of
                  available to you covering liability                           insurance of all insurers.
                  for "damages" arising out of the
                  premises or operations, or the                     5. Premium Audit
                  products      and      completed
                  operations, for which you have                          a. We will compute all premiums for this
                  been added as an additional                                Coverage Part in accordance with our
                  insured by attachment of an                                rules and rates.
                  endorsement.
                                                                          b. Premium shown in this Coverage Part as
              (c) Any other primary               insurance                  advance premium is a deposit premium
                  available   covering              athletics                only. At the close of each audit period we
                  activities.                                                will compute the earned premium for that
                                                                             period and send notice to the first Named
           (2) When this insurance is excess, we                             Insured. If the sum of the advance and
               will have no duty under Coverages A                           audit premiums paid for the policy period
               or B to defend the insured against                            is greater than the earned premium, we
               any "suit" if any other insurer has a                         will return the excess to the first Named
               duty to defend the insured against                            Insured.
               that "suit". If no other insurer
               defends, we will undertake to do so,                       c. The first Named Insured must keep
               but we will be entitled to the                                records of the information we need for
               insured's rights against all those                            premium computation, and send us
               other insurers.                                               copies at such times as we may request.

           (3) When this insurance is excess over                    6. Representations
               other insurance, we will pay only our
               share of the amount of the loss, if                        By accepting this policy, you agree:
               any, that exceeds the sum of:
                                                                          a. The statements in the Declarations are
              (a) The total amount that all such                             accurate and complete;
                  other insurance would pay for the
                  loss in the absence of this                             b. Those statements are based upon
                  insurance; and                                             representations you made to us; and

              (b) The total of all deductible and                         c. We have issued this policy in reliance
                  self-insured amounts under all                             upon your representations.
                  that other insurance.

           (4) We will share the remaining loss, if
               any, with any other insurance that is

                  Includes copyrighted material of Insurance Services Office, Inc., with its permission.   PCG 25 10 04 09
                                        Copyright 2009 GuideOne Insurance                                       Page 17 of 23




                                                                                                                       DEF-000073
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 58 of 73 PageID #:
                                    1786




     7. Separation Of Insureds                                                   including any attached machinery or
                                                                                 equipment; or
        Except with respect to the Limits of
        Insurance, and any rights or duties                                b. Any other land vehicle that is subject to a
        specifically assigned in this Coverage Part to                        compulsory or financial responsibility law
        the first Named Insured, this insurance                               or other motor vehicle insurance law in
        applies:                                                              the state where it is licensed or
                                                                              principally garaged.
        a. As if each Named Insured were the only
           Named Insured; and                                              However, "auto" does not include "mobile
                                                                           equipment".
        b. Separately to each insured against whom
           claim is made or "suit" is brought.                        3. "Bodily injury" means bodily injury, sickness
                                                                         or disease sustained by a person, including
     8. Transfer Of Rights Of Recovery Against                           death resulting from any of these at any time.
        Others To Us
                                                                      4. "Coverage territory" means:
        If the insured has rights to recover all or part
        of any payment we have made under this                             a. The United States of America (including
        Coverage Part, including all Coverages that                           its territories and possessions), Puerto
        may be added by endorsement, those rights                             Rico and Canada;
        are transferred or assigned to us. The
        insured must do nothing after loss to impair                       b. International waters or airspace, but only
        them. At our request, the insured will bring                          if the injury or damage occurs in the
        "suit" or transfer those rights to us and help                        course of travel or transportation between
        us enforce them.                                                      any places included in Paragraph a.
                                                                              above; or
     9. When We Do Not Renew
                                                                           c. All other parts of the world if the injury or
        If we decide not to renew this Coverage Part,                         damage arises out of:
        we will mail or deliver to the first Named
        Insured shown in the Declarations written                                (1) Goods or products made or sold by
        notice of the nonrenewal not less than 30                                    you in the territory described in
        days before the expiration date.                                             Paragraph a. above;

        If notice is mailed, proof of mailing will be                            (2) The activities of a person whose
        sufficient proof of notice.                                                  home is in the territory described in
                                                                                     Paragraph a. above, but is away for a
     SECTION V -- DEFINITIONS                                                        short time on your business; or

     1. "Advertisement" means a notice that is                                   (3) "Personal and advertising injury"
        broadcast or published to the general public                                 offenses that take place through the
        or specific market segments about your                                       Internet or similar electronic means of
        goods, products or services for the purpose                                  communication
        of attracting customers or supporters. For
        the purposes of this definition:                                         provided the insured's responsibility to
                                                                                 pay "damages" is determined in a "suit"
        a. Notices that are published include                                    on the merits, in the territory described in
           material placed on the Internet or on                                 Paragraph a. above or in a settlement we
           similar     electronic  means      of                                 agree to.
           communication; and
                                                                      5. "Damages" mean only those compensatory
        b. Regarding websites, only that part of a                       tort damages allowed by law.
           website that is about your goods,
           products or services for the purposes of                   6. "Employee" includes a "leased worker".
           attracting customers or supporters is                         "Employee" does not include a "temporary
           considered an advertisement.                                  worker".

     2. "Auto" means:                                                 7.    "Employment related practices" mean:

        a. A land motor vehicle, trailer or semitrailer                    a. The refusal to employ;
           designed for travel on public roads,



                   Includes copyrighted material of Insurance Services Office, Inc., with its permission.   PCG 25 10 04 09
                                         Copyright 2009 GuideOne Insurance                                       Page 18 of 23




                                                                                                                        DEF-000074
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 59 of 73 PageID #:
                                    1787




        b. Termination of employment, or a breach                          f.    That part of any other contract or
           of any express or implied covenants of                                agreement pertaining to your business
           employment; or                                                        (including an indemnification of a
                                                                                 municipality in connection with work
        c. Coercion,       demotion,    evaluation,                              performed for a municipality) under which
           reassignment, discipline, defamation,                                 you assume the tort liability of another
           harassment, humiliation, discrimination,                              party to pay for "bodily injury" or
           or other practices, policies, acts or                                 "property damage" to a third person or
           omissions, related to employment.                                     organization.      Tort liability means a
                                                                                 liability that would be imposed by law in
     8. "Executive officer" means a person holding                               the absence of any contract or
        any of the officer positions created by your                             agreement.
        charter, constitution, by-laws or any other
        similar governing document.                                              Paragraph f. does not include that part of
                                                                                 any contract or agreement:
     9. "Hostile fire" means one which becomes
        uncontrollable or breaks out from where it                               (1) That indemnifies a railroad for "bodily
        was intended to be.                                                          injury" or "property damage" arising
                                                                                     out of construction or demolition
     10. "Impaired property" means tangible property,                                operations, within 50 feet of any
         other than "your product" or "your work",                                   railroad property and affecting any
         that cannot be used or is less useful                                       railroad bridge or trestle, tracks, road-
         because:                                                                    beds, tunnel, underpass or crossing;

        a. It incorporates "your product" or "your                               (2) That   indemnifies     an architect,
           work" that is known or thought to be                                      engineer or surveyor for injury or
           defective,   deficient, inadequate or                                     damage arising out of:
           dangerous; or
                                                                                      a. Preparing, approving, or failing to
        b. You have failed to fulfill the terms of a                                     prepare or approve, maps, shop
           contract or agreement;                                                        drawings,      opinions,    reports,
                                                                                         surveys, field orders, change
        if such property can be restored to use by                                       orders      or     drawings     and
        the repair, replacement, adjustment or                                           specifications; or
        removal of "your product" or "your work" or
        your fulfilling the terms of the contract or                                  b. Giving directions or instructions,
        agreement.                                                                       or failing to give them, if that is
                                                                                         the primary cause of the injury or
     11. "Insured contract" means:                                                       damage; or

        a. A contract for a lease of premises.                                   (3) Under which the insured, if an
           However, that portion of the contract for                                 architect, engineer or surveyor,
           a lease of premises that indemnifies any                                  assumes liability for an injury or
           person or organization for damage by fire                                 damage arising out of the insured's
           to premises while rented to you or                                        rendering or failure to render
           temporarily occupied by you with                                          professional services, including those
           permission of the owner is not an                                         listed in (2) above and supervisory,
           "insured contract";                                                       inspection,      architectural      or
                                                                                     engineering activities.
        b. A sidetrack agreement;
                                                                      12. "Leased worker" means a person leased to
        c. Any easement or license agreement,                             you by a labor leasing firm under an
           except in connection with construction or                      agreement between you and the labor leasing
           demolition operations on or within 50 feet                     firm, to perform duties related to the conduct
           of a railroad;                                                 of your business. "Leased worker" does not
                                                                          include a "temporary worker".
        d. An obligation, as required by ordinance,
           to indemnify a municipality, except in                     13. "Loading or unloading" means the handling
           connection with work for a municipality;                       of property:

        e. An elevator maintenance agreement;                              a. After it is moved from the place where it
                                                                              is accepted for movement into or onto an
                                                                              aircraft, watercraft or "auto";

                   Includes copyrighted material of Insurance Services Office, Inc., with its permission.   PCG 25 10 04 09
                                         Copyright 2009 GuideOne Insurance                                       Page 19 of 23




                                                                                                                        DEF-000075
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 60 of 73 PageID #:
                                    1788




         b. While it is in or on an aircraft, watercraft                    f.    Vehicles not described in Paragraph a.,
            or "auto"; or                                                         b., c. or d. above maintained primarily for
                                                                                  purposes other than the transportation of
         c. While it is being moved from an aircraft,                             persons or cargo.
            watercraft or "auto" to the place where it
            is finally delivered;                                                 However, self-propelled vehicles with the
                                                                                  following types of permanently attached
         but "loading or unloading" does not include                              equipment are not "mobile equipment"
         the movement of property by means of a                                   but will be considered "autos":
         mechanical device, other than a hand truck,
         that is not attached to the aircraft, watercraft                         (1) Equipment designed primarily for:
         or "auto".
                                                                                       (a) Snow removal;
     14. "Minister" means a person:
                                                                                       (b) Road maintenance, but not
         a. Employed by;                                                                   construction or resurfacing; or

         b. Duly assigned to; or                                                       (c) Street cleaning;

         c. Duly appointed by                                                     (2) Cherry pickers and similar devices
                                                                                      mounted on automobile or truck
         you to attend to the spiritual needs of the                                  chassis and used to raise or lower
         congregation.                                                                workers; and

     15. "Mobile equipment" means any of the                                      (3) Air    compressors,     pumps     and
         following types of land vehicles, including any                              generators,     including   spraying,
         attached machinery or equipment:                                             welding,       building      cleaning,
                                                                                      geophysical exploration, lighting and
         a. Bulldozers, farm machinery, forklifts and                                 well servicing equipment.
            other    vehicles     designed for    use
            principally off public roads;                                   However, "mobile equipment" does not
                                                                            include any land vehicles that are subject to
         b. Vehicles maintained for use solely on or                        a compulsory or financial responsibility law or
            next to premises you own or rent;                               other motor vehicle insurance law in the state
                                                                            where it is licensed or principally garaged.
         c. Vehicles that travel on crawler treads;                         Land vehicles subject to a compulsory or
                                                                            financial responsibility law or other motor
         d. Vehicles, whether self-propelled or not,                        vehicle insurance law are considered
            maintained primarily to provide mobility to                     "autos".
            permanently mounted:
                                                                       16. "Occurrence" means an accident, including
             (1) Power cranes, shovels,               loaders,             continuous or     repeated exposure to
                 diggers or drills; or                                     substantially the same general harmful
                                                                           conditions.
             (2) Road construction or resurfacing
                 equipment such as graders, scrapers                   17. "Personal and advertising injury" means
                 or rollers;                                               injury, including consequential "bodily injury",
                                                                           arising out of one or more of the following
         e. Vehicles not described in Paragraph a.,                        offenses:
            b., c. or d. above that are not self-
            propelled and are maintained primarily to                       a. False arrest, detention or imprisonment;
            provide mobility to permanently attached
            equipment of the following types:                               b. Malicious prosecution;

             (1) Air    compressors,     pumps     and                      c. The wrongful eviction from, wrongful
                 generators,     including    spraying,                        entry into, or invasion of the right of
                 welding,       building      cleaning,                        private occupancy of a room, dwelling or
                 geophysical exploration, lighting and                         premises that a person occupies,
                 well servicing equipment; or                                  committed by or on behalf of its owner,
                                                                               landlord or lessor;
             (2) Cherry pickers and similar devices
                 used to raise or lower workers;

                    Includes copyrighted material of Insurance Services Office, Inc., with its permission.    PCG 25 10 04 09
                                          Copyright 2009 GuideOne Insurance                                        Page 20 of 23




                                                                                                                          DEF-000076
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 61 of 73 PageID #:
                                    1789




        d. Oral or written publication, in any                              However, "personal and advertising injury"
           manner, of material that slanders or libels                      does not include any injury arising from
           a person or organization or disparages a                         "sexual misconduct or sexual molestation",
           person's    or    organization's   goods,                        "sexual harassment", or counseling services
           products or services;                                            that provide advice or assistance regarding
                                                                            charitable contributions, finance, insurance,
        e. Oral or written publication, in any                              investment, law, real estate or tax.
           manner,     of material that violates a
           person's right of privacy;                                  18. "Pollutants" mean any solid, liquid, gaseous
                                                                           or thermal irritant or contaminant, including
        f.   The use of another's advertising idea in                      smoke, vapor, soot, fumes, acids, alkalis,
             your "advertisement";                                         chemicals and waste. Waste includes
                                                                           materials to be recycled, reconditioned or
        g. Infringing upon another's copyright, trade                      reclaimed.
           dress or slogan in your "advertisement";
                                                                       19. "Product recall" means the recall or
        h. Wrongful acts, errors or omissions                              withdrawal of "your product" from the market
           resulting from counseling services:                             or from use by any other person or
                                                                           organization because of a known or
             (1) That attend to the spiritual needs of a                   suspected defect in "your product" which
                 person, and are performed by:                             has caused or is reasonably expected to
                                                                           cause "bodily injury" or physical injury to
                                                                           tangible property other than "your product".
                 (a) A "minister" employed by you,
                     but only for counseling services                  20. "Product recall expenses" mean those
                     that are within the scope of his or                   reasonable and necessary expenses paid and
                     her duties for you;                                   directly related to a "product recall".
                 (b) Your "employee" or "volunteer                     21. "Products-completed operations hazard":
                     worker", but only if acting under
                     the direction and control of your                      a. Includes all "bodily injury" and "property
                     employed "minister" and within                            damage" occurring away from premises
                     the scope of his or her duties as                         you own or rent and arising out of "your
                     your "employee" or "volunteer                             product" or "your work" except:
                     worker"; or
                                                                                  (1) Products that are still in your physical
                 (c) A person in training to become a                                 possession; or
                     licensed     or       non-licensed
                                                                                  (2) Work that has not yet been
                     counselor, but only if acting:
                                                                                      completed or abandoned. However,
                                                                                      "your    work"   will be deemed
                     a. Under the direction and                                       completed at the earliest of the
                        control of your employed                                      following times:
                        "minister" or your principal (if
                        you operate a school); and                                     (a) When all of the work called for in
                                                                                           your    contract    has     been
                     b. Within the scope of his or her                                     completed.
                        duties as a counselor in
                        training.                                                      (b) When all of the work to be done
                                                                                           at the job site has been
                                                                                           completed if your contract calls
             (2) That are performed by a school
                                                                                           for work at more than one job
                 counselor employed by you, if you                                         site.
                 operate a college or school, but only
                 while acting within the scope of his or                               (c) When that part of the work done
                 her duties as your "employee" and                                         at a job site has been put to its
                 while providing to your students                                          intended use by any person or
                 counseling or academic guidance,                                          organization other than another
                 other      than       the    creation,                                    contractor    or   subcontractor
                 implementation and maintenance of                                         working on the same project.
                 an educational program.
                                                                                       Work that may need service,
                                                                                       maintenance, correction, repair or

                    Includes copyrighted material of Insurance Services Office, Inc., with its permission.   PCG 25 10 04 09
                                          Copyright 2009 GuideOne Insurance                                       Page 21 of 23




                                                                                                                         DEF-000077
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 62 of 73 PageID #:
                                    1790




                 replacement, but which is otherwise                         photographic, video or other reproduction of
                 complete,   will be treated as                              sexual activity.
                 completed.
                                                                             However, "sexual misconduct or sexual
         b. Does not include "bodily injury"                   or            molestation" does not include employment-
            "property damage" arising out of:                                related "sexual harassment".

             (1) The transportation of property, unless                 24. "Sexual harassment" means unwelcome
                 the injury or damage arises out of a                       sexual advances, requests for sexual favors,
                 condition in or on a vehicle not                           or other verbal, visual or physical conduct of
                 owned or operated by you, and that                         a sexual nature when such conduct:
                 condition was created by the "loading
                 or unloading" of that vehicle by any                        a. Is linked implicitly or explicitly with a
                 insured;                                                       decision affecting a term or condition of
                                                                                any individual's employment;
             (2) The existence of tools, uninstalled
                 equipment or abandoned or unused                            b. Interferes with               any   individual's    job
                 materials; or                                                  performance;

             (3) Products or operations for which the                        c. Creates an intimidating, hostile or
                 classification,   listed    in   the                           offensive working environment for any
                 Declarations or in a policy schedule,                          individual; or
                 states      that  products-completed
                 operations are subject to the General                       d. Arises out of or is related to an unlawful
                 Aggregate Limit.                                               employment practice as codified at 42
                                                                                U.S.C.A. h 2000e-2(a), or any pendant
     22. "Property damage" means:                                               State, municipal or local code, regulation
                                                                                or ordinance.
         a. Physical injury to tangible property,
            including all resulting loss of use of that                 25. "Suit" means a civil proceeding in which
            property. All such loss of use shall be                         "damages" because of "bodily injury",
            deemed to occur at the time of the                              "property damage", or "personal and
            physical injury that caused it; or                              advertising injury" to which this insurance
                                                                            applies are alleged. "Suit" includes:
         b. Loss of use of tangible property that is
            not physically injured. All such loss of                         a. An arbitration proceeding in which such
            use shall be deemed to occur at the time                            "damages" are claimed and to which the
            of the "occurrence" that caused it.                                 insured must submit or does submit with
                                                                                our consent; or
         For the purposes of this insurance, electronic
         data is not tangible property.                                      b. Any other alternative dispute resolution
                                                                                proceeding in which such "damages" are
         As used in this definition, electronic data                            claimed and to which the insured submits
         means information, facts or programs stored                            with our consent.
         as or on, created or used on, or transmitted
         to or from computer software, including                        26. "Temporary worker" means a person who is
         systems and applications software, hard or                         furnished to you to substitute for a permanent
         floppy disks, CD-ROMS, tapes, drives, cells,                       "employee" on leave or to meet seasonal or
         data processing devices or any other media                         short-term workload conditions.
         which are used with electronically controlled
         equipment.                                                     27. "Volunteer worker" means a person who is
                                                                            not your "employee", and who donates his or
     23. "Sexual misconduct or sexual molestation"                          her work and acts at the direction of and
         means any activity which is sexual in nature                       within the scope of duties determined by you,
         (whether permitted or not permitted); and                          and is not paid a fee, salary or other
         includes, but is not limited to: sexual assault,                   compensation by you or anyone else for their
         sexual battery, sexual relations, sexual acts,                     work performed for you.
         sexual activity, sexual handling, sexual
         massage,      sexual      exploitation,   sexual               28. "Your product":
         exhibition,   sexual     stimulation,   fondling
         intimacy, exposure of sexual organs, lewd or                        a. Means:
         lascivious behavior or indecent exposure,
         fornication, unauthorized touching, or the

                     Includes copyrighted material of Insurance Services Office, Inc., with its permission.         PCG 25 10 04 09
                                           Copyright 2009 GuideOne Insurance                                             Page 22 of 23




                                                                                                                                   DEF-000078
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 63 of 73 PageID #:
                                    1791




           (1) Any goods or products, other than                                (2) The providing of or failure to provide
               real property, manufactured, sold,                                   warnings or instructions.
               handled, distributed or disposed of
               by:                                                        c. Does not include vending machines or
                                                                             other property rented to or located for the
               (a) You;                                                      use of others but not sold.

               (b) Others trading under your name;                   29. "Your work":
                   or
                                                                          a. Means:
               (c) A person or organization whose
                   business or assets you have                                  (1) Work or operations performed by you
                   acquired; and                                                    or on your behalf; and

           (2) Containers (other than vehicles),                                (2) Materials,  parts   or  equipment
               materials,  parts  or   equipment                                    furnished in connection with such
               furnished in connection with such                                    work or operations.
               goods or products.
                                                                          b. Includes:
        b. Includes:
                                                                                (1) Warranties or representations made
           (1) Warranties or representations made                                   at any time with respect to the
               at any time with respect to the                                      fitness,     quality,      durability,
               fitness,      quality,     durability,                               performance or use of "your work";
               performance or use of "your                                          and
               product"; and
                                                                                (2) The providing of or failure to provide
                                                                                    warnings or instructions.




                  Includes copyrighted material of Insurance Services Office, Inc., with its permission.   PCG 25 10 04 09
                                        Copyright 2009 GuideOne Insurance                                       Page 23 of 23




                                                                                                                       DEF-000079
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 64 of 73 PageID #:
                                    1792




                                     AMENDATORY ENDORSEMENT
                            HIRED AND NONOWNED BUSINESS AUTO
                                    COVERAGE -- EXCESS LIABILITY
                               AND MEDICAL PAYMENTS INSURANCE
     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     This endorsement modifies insurance provided under the following:

          COMMERCIAL GENERAL LIABILITY COVERAGE PART

     SECTION I -- COVERED AUTOS                                                    However we have no duty to defend "suits"
                                                                                   for "bodily injury" or "property damage" not
     The following describes the "autos" that are                                  covered by this endorsement.
     covered "autos" under this endorsement.
                                                                             2. Exclusions of Coverage A (Section I) of the
     1. HIRED "AUTOS" means those "autos" you                                   Commercial General Liability Form, other
        lease, hire, rent or borrow. This does not                              than exclusions b, d, i, and the Nuclear
        include any "auto" you lease, hire, rent, or                            Energy Liability Exclusion (Broad Form), are
        borrow from any of your employees or                                    deleted and replaced with the following:
        partners or members of their households.
                                                                                   a. "Bodily injury" or "property damage"
     2. NONOWNED        "AUTOS"       means    those                                  expected or intended from the standpoint
        "autos" you do not own, lease, hire, rent or                                  of the "insured."
        borrow that are used in connection with your
        business. This includes "autos" owned by                                   b. "Bodily injury" to:
        your employees or partners or members of
        their households but only while used in your                                      (1) An employee of the "insured" arising
        business or your personal affairs.                                                    out of and in the course of
                                                                                              employment by the "insured"; or
     3. CERTAIN        TRAILERS AND   MOBILE
        EQUIPMENT are also covered "autos" for                                            (2) The spouse, child, parent, brother or
        Liability Coverage.                                                                   sister of that employee as a
                                                                                              consequence of paragraph (1) above.
        The following describe the above types.
                                                                                          This exclusion applies:
        a. "Trailers" with a load capacity of 2,000
           pounds or less designed primarily for                                                (a) Whether the "insured" may be
           travel on public roads.                                                                  liable as an employer or in any
                                                                                                    other capacity; and
        b. "Mobile equipment" while being carried
           or towed by a covered "auto."                                                        (b) To any obligation to share
                                                                                                    damages with or repay someone
     SECTION  II -- BODILY INJURY AND                                                               else who must pay damages
     PROPERTY DAMAGE LIABILITY COVERAGE                                                             because of the injury.

     1. Insuring Agreement of Coverage A (Section                                        But this exclusion does not apply to
        I) of the Commercial General Liability                                           "bodily injury" to domestic employees
        Coverage Form applies to all sums an                                             not entitled to workers' compensation
        "insured" legally must pay as damages                                            benefits or to liability assumed by the
        because of "bodily injury" or "property                                          "insured" under an "insured contract."
        damage" to which this insurance applies,
        caused by an "accident" and resulting from                                 c. "Bodily injury" to any fellow employee of
        the maintenance or use of a covered "auto."                                   the "insured" arising out of and in the
                                                                                       course of the fellow "employee's"
                                                                                       employment.



                             Includes copyrighted   material of Insurance Services Office, Inc., with its permission.   PCG 75 13 07 99
                                                     Copyright 1999 GuideOne Insurance                                          Page 1 of 7




                                                                                                                               DEF-000080
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 65 of 73 PageID #:
                                    1793




        d. "Property damage" to property owned or                                                (c) When that part of the work done
           transported by the "insured" or in the                                                    at a job site has been put to its
           "insured's" care, custody or control. But                                                 intended use by any person or
           this exclusion does not apply to liability                                                organization other than another
           assumed under a sidetrack agreement.                                                      contractor or subcontractor work-
                                                                                                      ing on the same project.
        e. "Bodily injury" or "property damage"
           resulting from the handling of property:
                                                                                          Work    that     may      need    service,
             (1) Before it is moved from the place                                        maintenance, correction,       repair or
                 where it is accepted by the "insured"                                    replacement, but which is otherwise
                 for movement into or onto the                                            complete, will be treated as completed.
                 covered "auto"; or
                                                                                    i.    "Bodily injury"                or "property   damage"
             (2) After it is moved from the covered                                       arising out of:
                 "auto" to the place where it is finally
                 delivered by the "insured."                                               (1) The actual, alleged or threatened
                                                                                               discharge,    dispersal, seepage,
        f.   "Bodily injury" or "property damage"                                              migration, release or escape of
             resulting from the movement of property                                           "pollutants":
             by a mechanical device (other than a
             hand truck) unless the device is attached                                           (a) That are, or that are contained in
             to the covered "auto."                                                                  any property that is:

        g. "Bodily injury" or "property damage"                                                         (i) Being transported or towed
           arising out of the operation of any                                                              by, or handled for movement
           equipment listed in paragraphs f.2. and                                                          into, onto or from the
           f.3. of the definition of "mobile                                                                covered "auto."
           equipment."
                                                                                                        (ii) Otherwise in the course of
        h. "Bodily injury" or "property damage"                                                              transit by the "insured"; or
           arising out of your work after that work
           has been completed or abandoned.                                                             (iii) Being stored, disposed of,
                                                                                                              treated or processed in or
             In this exclusion, your work means:                                                              upon the covered "auto";

             (1) Work or operations performed by you                                             (b) Before the pollutants or any
                 or on your behalf; and                                                              property in which the pollutants
                                                                                                     are contained are moved from
             (2) Materials,  parts   or  equipment                                                   the place where they are
                 furnished in connection with such                                                   accepted by the "insured" for
                 work or operations.                                                                 movement into or onto the
                                                                                                     covered "auto"; or
             Your work includes warranties or
             representations made at any time with                                               (c) After the pollutants or any
             respect to the fitness, quality, durability                                             property in which the pollutants
             or performance of any of the items                                                      are contained are moved from
             included in paragraphs (1) or (2) above.                                                the covered "auto" to the place
                                                                                                     where they are finally delivered,
             Your work will be deemed completed at                                                   disposed of or abandoned by the
             the earliest of the following times:                                                    insured."

                 (a) When all of the work called for in                                    (2) Any loss, cost or expense arising out
                     your    contract    has     been                                          of any statutory or regulatory
                     completed.                                                                requirement that you test for,
                                                                                               monitor, clean up, remove, contain,
                 (b) When all of the work to be done                                           treat, detoxify or neutralize or in any
                     at the site has been completed if                                         way respond to or access the effects
                     your contract calls for work at                                           of "pollutants."
                     more than one site.




                              Includes copyrighted   material of Insurance Services Office, Inc., with its permission.            PCG 75 13 07 99
                                                      Copyright 1999 GuideOne Insurance                                                     Page 2 of 7




                                                                                                                                           DEF-000081
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 66 of 73 PageID #:
                                    1794




            Paragraphs (1)(a)(iii) does not apply to                                      (4) All reasonable expenses incurred by
            fuels, lubricants, fluids, exhaust gases or                                       the "insured"      at our request,
            other similar "pollutants" that are needed                                        including actual loss of earning up to
            for or result from the normal electrical,                                         $250 a day because of time off from
            hydraulic or mechanical functioning of the                                        work.
            covered "auto" of its parts, if:
                                                                                          (5) All costs taxed against the "insured"
                (a) The "pollutants" escape or are                                            in any "suit" we defend.
                    discharged,       dispersed     or
                    released directly from an "auto"                                      (6) All interest on the full amount of any
                    part designed by its manufacturer                                         judgment that accrues after entry of
                    to hold, store, receive or dispose                                        the judgment in any "suit" we
                    of such "pollutants"; and                                                 defend; but our duty to pay interest
                                                                                              ends when we have paid, offered to
                (b) The "bodily injury" or "property                                          pay or deposited in court the part of
                    damage" does not arise out of                                             the judgment that is within our Limit
                    the operation of any equipment                                            of Insurance.
                    listed in paragraphs 9.f.(1) and
                    9.f.(2) of the definition of "mobile                                  (7) In addition to any applicable Limit of
                    equipment."                                                               Insurance, we will repay the actual
                                                                                               expense of emergency transportation
            Paragraphs (1)(b) and (1)(c) of this                                               to the intended destination or back to
            exclusion do not apply if:                                                        your place of business. The expense
                                                                                               must be necessary because of a
                (a) The "pollutants" or any property                                          "loss" which is covered under this
                    in which the "pollutants" are                                             policy and occurs more than 50 miles
                    contained are upset, overturned                                           from your place of business. The
                    or damaged as a result of the                                             transportation expense must be
                    maintenance or use of a covered                                           incurred within 48 hours of such
                    "auto"; and                                                               "loss."     The most we will pay for
                                                                                               such expense is $250 for any one
                (b) The discharge, dispersal, release                                         "accident."
                    or escape of the pollutants is
                    caused directly by such upset,                                 b. Out of State Coverage Extensions.
                    overturn or damage.
                                                                                          While a covered "auto" is away from the
     3. Supplementary Payments of Coverages A                                             state where it is licensed we will:
        and B (Section I) of the Commercial General
        Liability Form are deleted and replaced with                                      (1) Increase the Limit of Insurance for
        the following:                                                                        Liability Coverage to meet the limits
                                                                                              specified by a compulsory or financial
        Coverage Extensions                                                                   responsibility law of the jurisdiction
                                                                                              where the covered "auto" is being
        a. Supplementary Payments. In addition to                                             used. This extension does not apply
           the Limit of Insurance, we will pay for the                                        to the limit or limits specified by any
           "insured":                                                                         law governing motor carriers of
                                                                                              passengers or property.
            (1) All expenses we incur.
                                                                                          (2) Provide the minimum amounts and
            (2) Up to $250 for cost of bail bonds                                             types of other coverages, such as
                (including bonds for related traffic law                                      no-fault, required of out of state
                violations) required because of an                                            vehicles by the jurisdiction where the
                "accident" we cover. We do not                                                covered "auto" is being used.
                have to furnish these bonds.
                                                                                         We will not pay anyone more than once
            (3) The cost of bonds to release                                             for the same elements of loss because of
                attachments in any "suit" we defend,                                     these extensions.
                but only for bond amounts within our
                Limit of Insurance.                                          4. Who Is An Insured (Section II) of the
                                                                                Commercial General Liability Form is
                                                                                replaced with the following:


                             Includes copyrighted   material of Insurance Services Office, Inc., with its permission.   PCG 75 13 07 99
                                                     Copyright 1999 GuideOne Insurance                                           Page 3 of 7




                                                                                                                                DEF-000082
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 67 of 73 PageID #:
                                    1795




        The following are "insureds":                                        SECTION III -- MEDICAL PAYMENTS
                                                                             COVERAGE
        a. You for any covered "auto."
                                                                             1. Insuring Agreement of Coverage C (Section
        b. Any of your officers, clergy or employees                            I) paragraph a. of the Commercial General
           are insureds but only with respect to their                          Liability Form applies to all reasonable
           duties as such.                                                      expenses incurred for necessary medical and
                                                                                funeral services to or for an "insured" who
        c. Any person who is a "volunteer" for you                              sustains    "bodily   injury"   caused   by
           is an insured, but only while using an                               "accident."
           "auto" with your express knowledge and
           authorization, in the course of your                                    We will pay only those expenses incurred
           business, and within the scope of their                                 within three years from the date of
           duties for you.                                                         "accident."

        d. Anyone else while using with your                                       The provisions of any paragraphs other than
           permission a covered "auto" you hire or                                 paragraph a. under 1. Insuring Agreement of
           borrow except:                                                          COVERAGE C (Section I) of the Commercial
                                                                                   General Liability Form do not apply to the
            (1) The owner or anyone else from                                      insurance provided by this endorsement.
                whom you hire or borrow a covered
                "auto."                                                      2. Exclusions of Coverage C (Section I) of the
                                                                                Commercial General Liability Form are
            (2) Someone using a covered "auto"                                  deleted and replaced with the following:
                while he or she is working in a
                business    of    selling, servicing,                              a. "Bodily injury" sustained by an "insured"
                repairing or parking "autos" unless                                   while "occupying" a vehicle located for
                that business is yours.                                               use as a premises.

            (3) Anyone other than your employees,                                  b. "Bodily injury" sustained by anyone while
                partners, a lessee or borrower or any                                 "occupying" an "auto" that is not a
                of their employees, while moving                                      covered "auto."
                property to or from a covered "auto."
                                                                                   c. "Bodily injury" to your employee arising
            (4) A partner of yours for a covered                                      out of and in the course of employment
                "auto" owned by him or her or a                                       by you. However, we will cover "bodily
                member of his or her household.                                       injury" to your domestic employees if not
                                                                                      entitled    to   workers'  compensation
        e. Anyone else who is not otherwise                                           benefits.
           excluded under paragraph b. above and
           is liable for the conduct of an "insured"                               d. "Bodily injury" to an "insured" while
           but only to the extent of that liability.                                  working in a business of selling,
                                                                                      servicing, repairing or parking "autos"
     5. Limits Of Insurance (Section III) of the                                      unless that business is yours.
        Commercial General Liability Form is deleted
        and replaced with the following:                                           e. "Bodily injury" caused by declared or
                                                                                      undeclared war or insurrection or any of
        Regardless of the number of covered                                           their consequences.
        "autos," "insureds," premiums paid, claims
        made or vehicles involved in the "accident,"                               f.    "Bodily injury" to anyone using a vehicle
        the most we will pay for all damages resulting                                   without a reasonable belief that the
        from any one "accident" is the Each                                              person is entitled to do so.
        Occurrence Limit shown in the Declarations.
                                                                             3. Who Is An Insured (Section II) of the
        All "bodily injury" and "property damage"                               Commercial General Liability Coverage Form
        resulting from continuous or repeated                                   is deleted and replaced with the following:
        exposure to substantially the same conditions
        will be considered as resulting from one                                   Anyone "occupying"                   an "auto"   that is a
        "accident."                                                                covered "auto."




                             Includes copyrighted   material of Insurance Services Office, Inc., with its permission.           PCG 75 13 07 99
                                                     Copyright 1999 GuideOne Insurance                                                    Page 4 of 7




                                                                                                                                         DEF-000083
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 68 of 73 PageID #:
                                    1796




     4. Limit of Insurance (Section III) of the                                            (5) Submit to examination, at our
        Commercial General Liability Form is deleted                                           expense, by physicians of our choice,
        and replaced with the following:                                                       as often as we reasonably require.

         Regardless of the number of covered                                  2. Legal Action Against Us.
         "autos," "insureds," premiums paid, claims
         made or vehicles involved in the "accident,"                               No one may bring a legal action against us
         the most we will pay for "bodily injury" for                               under this endorsement until:
         each "insured" injured in any one "accident"
         is $5,000.                                                                 a. There has been full compliance with all
                                                                                       the terms of this endorsement; and
     SECTION IV -- BUSINESS AUTO
     CONDITIONS                                                                     b. Under Liability Coverage, we agree in
                                                                                       writing that the "insured" has an
     Commercial General Liability Conditions (Section                                  obligation to pay or until the amount of
     IV) of the Commercial General Liability Coverage                                  that    obligation     has  finally been
     Form, other than conditions 1. and 8., are deleted                                determined by judgment after trial. No
     and replaced with the following (Condition 8. of                                  one has the right under this policy to
     the Commercial Liability Form does not apply to                                   bring us into an action to determine the
     SECTION III -- Medical Payments Coverage of                                       "insured's" liability.
     the endorsement):
                                                                              3. Other Insurance.
     1. Duties In The Event Of Accident,                    Claim
        or Suit.                                                                    a. For any covered "auto," the insurance
                                                                                       provided by this endorsement is excess
         a. In the event of "accident," claim or                                       over any other collectible insurance. For
            "suit," you must give us or our                                            Medical Payments Coverage, other
            authorized representative prompt notice                                    collectible insurance applies only to other
            of the "accident." Include:                                                collectible    auto   medical    payments
                                                                                       insurance.
             (1) How, when and where the "accident"
                 occurred;                                                          b. This endorsement's Liability Coverage is
                                                                                       primary for any liability assumed under an
             (2) The "insured's" name and address;                                     "insured contract."
                 and
                                                                                    c. When this endorsement and any other
             (3) To the extent possible, the names                                     endorsement, Coverage Form or policy
                 and addresses of any injured persons                                  covers on the same basis we will pay
                 and witnesses.                                                        only our share.       Our share is the
                                                                                       proportion that the Limit of Insurance of
         b. Additionally, you and any other involved                                   our endorsement bears to the total of the
            "insured" must:                                                            limits of all the endorsements, Coverage
                                                                                       Forms and policies covering on the same
             (1) Assume no obligation, make no                                         basis.
                 payment or incur no expense without
                 our    consent,   except  at    the                          4. Premium Audit.
                 "insured's" own cost.
                                                                                    a. The     estimated     premium    for   this
             (2) Immediately send us copies of any                                     endorsement is based on the exposures
                 demand, notice, summons or legal                                      you told us you would have when this
                 paper received concerning the claim                                   policy began. We will compute the final
                 or "suit."                                                            premium due when we determine your
                                                                                       actual exposures. The estimated total
             (3) Cooperate      with     us  in   the                                  premium will be credited against the final
                 investigation, settlement or defense                                  premium due and the first Named Insured
                 of the claim or "suit."                                               will be billed for the balance, if any. If
                                                                                       the estimated total premium exceeds the
             (4) Authorize us       to     obtain medical                              final premium due, the first Named
                 records      or         other    pertinent                            Insured will get a refund.
                 information.




                              Includes copyrighted   material of Insurance Services Office, Inc., with its permission.   PCG 75 13 07 99
                                                      Copyright 1999 GuideOne Insurance                                          Page 5 of 7




                                                                                                                                DEF-000084
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 69 of 73 PageID #:
                                    1797




        b. If this policy is issued for more than one                             a. The United States of America;
           year, the premium for this endorsement
           will be computed annually based on our                                 b. The territories and possessions of the
           rates or premiums in effect at the                                        United States of America;
           beginning of each year of the policy.
                                                                                  c. Puerto Rico; and
     5. Concealment, Misrepresentation Or
        Fraud.                                                                    d. Canada.

        This endorsement is void in any case of fraud                             We also cover "accidents" involving a
        by you at any time as it relates to this                                  covered "auto" while being transported
        endorsement. It is also void if you or any                                between any of these places.
        other "insured," at any time, intentionally
        conceal or misrepresent a material fact                             3. "Insured" means any person or organization
        concerning:                                                            qualifying as an insured in the Who Is An
                                                                               Insured provision of the applicable coverage.
        a. This endorsement;                                                   Except with respect to the Limit of Insurance,
                                                                               the coverage afforded applies separately to
        b. The covered "auto";                                                 each insured who is seeking coverage or
                                                                               against whom a claim or "suit" is brought.
        c. Your interest in the covered "auto"; or
                                                                                  The coverage provided by this endorsement
        d. A claim under this endorsement.                                        is subject to specified provisions of other
                                                                                  forms applicable to this Coverage Part.
     6. Liberalization.                                                           Some of these provisions use the word:
                                                                                  insured, which is subject to this definition.
        If we revise this endorsement to provide
        more coverage without additional premium                            4. "Insured contract" means:
        charge, your policy will automatically provide
        the additional coverage as of the day the                                 a. A lease of premises;
        revision is effective in your state.
                                                                                  b. A sidetrack agreement;
     7. Two Or More Endorsements, Coverage
        Forms Or Policies Issued To You By Us.                                    c. An easement or license agreement in
                                                                                     connection with vehicle or pedestrian
        If two or more endorsements, Coverage                                        private railroad crossings at grade;
        Forms or policies issued to you by us or any
        company affiliated with us apply to the same                              d. Any other easement agreement, except
        "accident," the aggregate maximum Limit of                                   in connection with construction or
        Insurance under all the endorsements,                                        demolition operations on or within 50 feet
        Coverage Forms or policies shall not exceed                                  of a railroad;
        the highest applicable Limit of Insurance
        under any one endorsement, Coverage Form                                  e. An indemnification of a municipality as
        or policy. This condition does not apply to                                  required by ordinance, except in
        any endorsement, Coverage Form or policy                                     connection with or for a municipality;
        issued by us or an affiliated company
        specifically to apply as excess insurance over                            f.     That part of any other contract or
        this endorsement.                                                                agreement entered into, as part of your
                                                                                         business, by you or any of your
     SECTION V -- DEFINITIONS                                                            employees pertaining to the rental or
                                                                                         lease of any "auto";
        Definitions (Section V) of the Commercial
        General Liability Coverage Form other than                                g. That part of any other contract or
        the definitions of "Auto," "Bodily injury,"                                  agreement pertaining to your business,
        "Mobile       Equipment,"      "Occurrence,"                                 under which you assume the tort liability
        "Pollutants," "Property Damage" and "Suit,"                                  of another to pay damages because of
        are deleted and replaced with the following:                                 "bodily injury" or "property damage" to a
                                                                                     third person or organization, if the
     1. "Accident" (See "Occurrence" definition).                                    contract or agreement is made prior to
                                                                                     the "bodily injury" or "property damage."
     2. "Coverage Territory" means:                                                  Tort liability means a liability that would


                            Includes copyrighted   material of Insurance Services Office, Inc., with its permission.   PCG 75 13 07 99
                                                    Copyright 1999 GuideOne Insurance                                          Page 6 of 7




                                                                                                                              DEF-000085
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 70 of 73 PageID #:
                                    1798




           be imposed by law in the absence of any                                b. That holds a person or organization
           contract or agreement.                                                    engaged in the business of transporting
                                                                                     property by "auto" for hire harmless for
        An "insured contract" does not include that                                  your use of a covered "auto" over a
        part of any contract or agreement:                                           route or territory that person or
                                                                                     organization is authorized to serve by
        a. That pertains to the loan, lease or rental                                public authority.
           of any "auto" to you or any of your
           employees, if the "auto" is loaned,                              5. "Occupying" means in, upon, getting in, on,
           leased or rented with a driver.                                     out or off.

                                                                            6. "Trailer" includes semitrailer.




                            Includes copyrighted   material of Insurance Services Office, Inc., with its permission.   PCG 75 13 07 99
                                                    Copyright 1999 GuideOne Insurance                                          Page 7 of 7




                                                                                                                              DEF-000086
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 71 of 73 PageID #:
                                    1799




                                                                     CORPORAL PUNISHMENT

     THIS DOCUMENT IS AN ENDORSEMENT THAT CHANGES THE POLICY.                                               PLEASE READ IT
     CAREFULLY.

     This endorsement modifies insurance provided under the following:

            COMMERCIAL GENERAL LIABILITY COVERAGE PART

     1. Exclusion a. of paragraph 2. Exclusions of                              (2) "Bodily injury" resulting from corporal
        Coverage A Bodily Injury And Property                                       punishment       to     any     student
        Damage Liability (Section I -- Coverages) is                                administered by or at the direction of
        replaced by the following:                                                  any insured.

        This insurance does not apply to:                            2. The Corporal Punishment Exclusion under
                                                                        Additional Exclusions -- Coverages A, B And
        a. Expected Or Intended Injury                                  C (Section I -- Coverages) is replaced by the
                                                                        following:
            "Bodily injury" or "property damage"
            expected or intended from the standpoint                      This insurance does not apply to:
            of the insured. This exclusion does not
            apply to:                                                     Corporal Punishment

            (1) "Bodily injury" or "property damage"                      "Property    damage" or "personal and
                resulting from the use of reasonable                      advertising injury" to any student or pupil
                force to protect persons or property;                     arising out of any corporal punishment
                or                                                        administered by or at the direction of any
                                                                          insured.




                        Includes copyrighted material of Insurance Services Office, Inc. with its permission.   PCG 75 17 04 09
                                              Copyright 2009 GuideOne Insurance                                       Page 1 of 1




                                                                                                                           DEF-000087
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 72 of 73 PageID #:
                                    1800




                                         DAY NURSERY MEDICAL PAYMENTS
     THIS DOCUMENT IS AN ENDORSEMENT THAT CHANGES THE POLICY.                                               PLEASE READ IT
     CAREFULLY.

     This endorsement modifies insurance provided under the following:

            COMMERCIAL GENERAL LIABILITY COVERAGE FORM

     Coverage C Medical Payments of Section I -- Coverages is amended as follows:

     A. The following coverage is added to Paragraph 1. Insuring Agreement:

        1. Insuring Agreement

            We will pay medical expenses on an excess payment basis for "bodily injury" caused by an
            accident to any person being cared for at any day nursery owned or operated by you or on your
            behalf.

     B. Paragraph h. of Paragraph 2. Exclusions is deleted.




                        Includes copyrighted material of Insurance Services Office, Inc. with its permission.   PCG 75 33 04 09
                                              Copyright 2009 GuideOne Insurance                                       Page 1 of 1




                                                                                                                           DEF-000088
Case 3:19-cv-00710-RGJ-LLK Document 60-24 Filed 10/29/21 Page 73 of 73 PageID #:
                                    1801




                                      AMENDED DEFINITION OF DAMAGES
     THIS DOCUMENT IS AN ENDORSEMENT THAT CHANGES THE POLICY.            PLEASE READ IT
     CAREFULLY.

     This endorsement modifies insurance provided under the following:

             COMMERCIAL GENERAL LIABILITY COVERAGE FORM
             PROFESSIONAL LIABILITY COVERAGE
             EMPLOYEE BENEFITS LIABILITY COVERAGE
             COUNSELORS LIABILITY COVERAGE

     The definition of "damages" is replaced by the following:

     "Damages" mean only those tort damages allowed by law.




                                                                                PMAN502
                                                                                Page 1 of 1




                                                                                     DEF-000089
